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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                             Case No. 15-24442-CIV-LENARD/GOODMAN



   JAIME FAITH EDMONDSON, ANA CHERI
   (MORELAND), CARRIE MINTER, CIELO
   JEAN GIBSON, CORA SKINNER, DANIELLE
   RUIZ, EVA PEPAJ, HEATHER DEPRIEST,
   IRINA VORONINA, JESSE GOLDEN, JESSICA                            AMENDED COMPLAINT
   BURCIAGA, JESSICA HINTON, JOANNA                              INJUNCTIVE RELIEF SOUGHT
   KRUPA, JORDAN CARVER, KATERINA VAN                                 (Jury Trial Demanded)
   DERHAM, KIM COZZENS, LAURIE FETTER
   (JACOBS), LINA POSADA, MARIA
   ZYRIANOVA, MARKETA KAZDOVA,
   MASHA LUND, MAYSA QUY, PAOLA
   CANAS, RACHEL BERNSTEIN (KOREN),
   SANDRA VALENCIA, SARA UNDERWOOD,
   TIFFANY TOTH, VIVIAN KINDLE, MELANIE
   IGLESIAS, BRENDA LYNN GEIGER,
   HEATHER RAE YOUNG, and ROSA ACOSTA,

                           Plaintiffs,

                   - against -

   VELVET LIFESTYLES, LLC, f/k/a VELVET
   LIFESTYLES, INC., d/b/a MIAMI VELVET,
   JOY   DORFMAN,     a/k/a  JOY  ZIPPER,
   PRESIDENT OF VELVET LIFESTYLES, LLC,
   and MY THREE YORKIES, LLC,

                            Defendants.

                                         AMENDED COMPLAINT1

           Plaintiffs JAIME FAITH EDMONDSON, ANA CHERI (MORELAND), CARRIE

   MINTER, CIELO JEAN GIBSON, CORA SKINNER, DANIELLE RUIZ, EVA PEPAJ,

   HEATHER DEPRIEST, IRINA VORONINA, JESSE GOLDEN, JESSICA BURCIAGA,

   1
         Pursuant to this Court's Order on Defendants' Motion to Dismiss [ECF No. 77], Plaintiffs submit this
   Amended Complaint stating claims as to the Lanham Act, 15 U.S.C. 1125(a), only.

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   JESSICA HINTON, JOANNA KRUPA, JORDAN CARVER, KATERINA VAN DERHAM,

   KIM COZZENS, LAURIE FETTER (JACOBS), LINA POSADA, MARIA ZYRIANOVA,

   MARKETA KAZDOVA, MASHA LUND, MAYSA QUY, PAOLA CANAS, RACHEL

   BERNSTEIN (KOREN), SANDRA VALENCIA, SARA UNDERWOOD, TIFFANY TOTH,

   VIVIAN KINDLE, MELANIE IGLESIAS, BRENDA LYNN GEIGER, HEATHER RAE

   YOUNG, and ROSA ACOSTA (collectively, "Plaintiffs"), by and through undersigned counsel,

   hereby file their Amended Complaint against Defendants VELVET LIFESTYLES, LLC, f/k/a

   VELVET LIFESTYLES, INC., d/b/a MIAMI VELVET, JOY DORFMAN, a/k/a JOY ZIPPER,

   PRESIDENT OF VELVET LIFESTYLES, LLC, and MY THREE YORKIES, LLC

   (collectively, "Defendants") and state as follows:

                                          INTRODUCTION

          1.      Defendants have pirated and altered the images, likeness and/or identity of each

   Plaintiff Model for purely self-serving commercial purposes – to advertise, promote and market

   Defendants’ own business interests on websites and social media accounts owned, operated,

   hosted, or controlled by Defendants.

          2.      The purpose and intent of Defendants’ advertising activities is to attract like-

   minded individuals who participate in the swinger and spouse-swapping lifestyle from across the

   country and around the world to attend the events advertised at the Club (defined below) by

   becoming members of this particular establishment.

          3.      Defendants are unapologetic, chronic and habitual infringers.

          4.      Defendants never negotiated for or purchased the images.

          5.      Defendants never sought consent or authority through appropriate channels to use

   any of the Plaintiffs’ images for any purpose.



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          6.      No Plaintiff ever agreed, nor would any Plaintiff have agreed, to Defendants’ use

   of her image, likeness and/or identity.

          7.      Had each Plaintiff been afforded the opportunity to consider whether to consent

   and release rights as to the use or alteration of any image, each Plaintiff would have promptly

   and unequivocally declined.

          8.      Defendants’ conduct is therefore misleading and deceptive by falsely and

   fraudulently representing that each Plaintiff Model depicted in the misappropriated images is

   somehow affiliated with Defendants Velvet Lifestyles LLC or Miami Velvet Club (the “Club”),

   has contracted to perform at and/or participate in events at the Club, has been hired to promote,

   advertise, market or endorse its “swinger” or alternative lifestyle events and other activities

   offered at the Club, and/or that each Plaintiff depicted in the advertisements has attended or will

   attend each event and has participated in or intends to participate in the activities advertised.

          9.      Defendants’ conduct is also injurious to each Plaintiff.

          10.     Defendants circumvented the typical arms-length negotiation process entirely and

   pirated the images. In doing so, Defendants have utterly deprived each Plaintiff the right and

   ability to say “no.”

          11.     Defendants have prevented each Plaintiff from engaging in arms-length

   negotiations regarding the terms and conditions of use of their images, including the term of any

   release, remuneration per image or use, or the ability to decline the business opportunity entirely.

   In short, Defendants deprived each Plaintiff the ability to protect her image, brand and

   reputation.

          12.     In the end, Defendants admittedly gain an economic windfall by using and

   altering the images of professional and successful models for Defendants’ own commercial



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   purposes, luring and enticing patrons worldwide to view the images and visit the Club, without

   having to compensate the models a single penny for such usage. Plaintiffs, however, sustain

   injury to their images, brands and marketability by shear affiliation with Defendants and the type

   of club operated by Defendants.

          13.     As if the economic piracy – the lost commercial opportunity to bargain for and

   decline Defendants’ proposed usage – was not damaging enough, Defendants posted the

   Plaintiffs’ misappropriated and altered images on the miamivelvet.com website and social media

   outlets owned, hosted, or controlled by Defendants next to or in very close proximity to photos

   reflecting images of explicit, hardcore pornography – too obscene and offensive, in fact, to even

   include as an exhibit to this publicly-filed complaint.

          14.     Defendants intended to (and did) increase their membership ranks by featuring

   Plaintiffs’ images in their advertisements next to far more explicit and hardcore images.

          15.     Such explicit, hardcore images purport to reflect sex acts performed at the Club

   by Club patrons and at all times the intent was to intimate that Plaintiffs also participated in such

   activities. The explicit, hardcore pornographic images strategically positioned by Defendants in

   proximity to the infringing images, likeness or identity of Plaintiffs reflect unhealthy and

   unsanitary acts and conditions, including "gang bangs," roving group sex, explicit simultaneous

   3-on-1 anal, oral and vaginal penetration, alternating anal penetration, and anal penetration using

   inanimate objects – in one case, anal penetration using a cluster of 14 Sharpie markers where the

   consent of the individual depicted in the photo is itself in question.

          16.     The explicit, hardcore images are, standing alone, unsettling and disturbing. But,

   when posted and presented in conjunction and in close proximity with the unauthorized use of

   Plaintiffs’ images, they are offensive, insulting, humiliating, demeaning, erroneously suggestive



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   of Plaintiffs’ endorsement and participation in the still-photo, film or streaming online hardcore

   pornographic film industry, and damaging to each model’s reputation, marketability and brand.

           17.      Having operated a business in the adult entertainment and “swingers” club

   industry, Defendants are well aware of the standard negotiation process over terms of use,

   conditions of release, licensing issues, and other contractual incidences related to use and

   exploitation of images for Defendants’ commercial benefit.

           18.      Moreover, Defendants are no strangers to litigation over the protection of marks,

   image, and reputation. Velvet Lifestyles, Inc., the predecessor entity to Velvet Lifestyles, LLC

   filed an action in this Court on July 19, 2004, styled Velvet Lifestyles, Inc. v. SDC Media, Inc., et

   al, 1:04-cv-21800-FAM (SD Florida 2004) (the “SDC Action”), seeking money damages and

   injunctive relief from SDC [Swingers Dating Club] for SDC’s misappropriation of Velvet

   Lifestyle’s marks in commerce, cybersquatting and cyberpiracy, trademark infringement, unfair

   competition, and, ironically, injury to business reputation and dilution. The facts of the above-

   referenced case are sufficiently similar to raise a fair presumption that Defendants knew that at

   the time they pirated and altered each Plaintiff's image, likeness and identity for Defendants' own

   commercial use, and failed to engage in an arm’s length negotiation, seek consent, or

   compensate Plaintiffs for the use of such images, Defendants were violating the law.

           19.      Even after receiving a demand and cease & desist letter from Plaintiffs’ counsel,

   enclosed herewith as Exhibit A2 (October 16, 2015 Letter), Defendants failed and refused to

   remove the infringing imagery from one or more social media sites controlled by them. More

   egregious is that Defendants have posted additional infringing images without any effort to

   obtain the consent from the model depicted in the posted image.


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            Plaintiffs’ Amended Complaint is amended as to the claims only. Plaintiffs incorporate by reference each
   of the exhibits filed with the Original Complaint [ECF No. 1].

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          20.      Knowing Plaintiffs’ objections thereto, Defendants continue to use the images

   without authority. Much more than merely a misuse in connection with an innocuous brand or

   event, Defendants' have defamed and embarrassed Plaintiffs by associating their images with

   Defendants and the Club.

          21.      Each Plaintiff seeks, among other relief, an Order immediately and permanently

   enjoining Defendants' illegal activities, and compelling Defendants to appropriately compensate

   each Plaintiff for the theft and piracy of her image.

                                                PARTIES

   A. Plaintiffs

          22.      Given the multitude of violations harming numerous models, and the similarity of

   misconduct from Defendants harming all models, in the interest of judicial economy, Plaintiffs,

   through counsel, respectfully consolidate all actionable violations presently known into this

   single collective action on behalf of the following models.

          23.      Plaintiff Jaime Faith Edmondson (“Edmondson”) is, and at all times relevant to

   this action was, a professional model and a resident of Saint Petersburg, Florida.

          24.      Plaintiff Ana Cheri (Moreland) (“Cheri”) is, and at all times relevant to this action

   was, a professional model and a resident of Westminster, California.

          25.      Plaintiff Carrie Minter (“Minter”) is, and at all times relevant to this action was, a

   professional model and a resident of West Hollywood, California.

          26.      Plaintiff Cielo Jean Gibson (“Gibson”) is, and at all times relevant to this action

   was, a professional model and a resident of Santa Monica, California.

          27.      Plaintiff Cora Skinner (“Skinner”) is, and at all times relevant to this action was, a

   professional model and a resident of Santa Monica, California.



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          28.     Plaintiff Danielle Ruiz (“Ruiz”) is, and at all times relevant to this action was, a

   professional model and a resident of Los Angeles, California.

          29.     Plaintiff Eva Pepaj (“Pepaj”) is, and at all times relevant to this action was, a

   professional model and a resident of North Hollywood, California.

          30.     Plaintiff Heather Depriest (“Depriest”) is, and at all times relevant to this action

   was, a professional model and a resident of Los Angeles, California.

          31.     Plaintiff Irina Voronina (“Voronina”) is, and at all times relevant to this action

   was, a professional model and a resident of Los Angeles, California.

          32.     Plaintiff Jesse Golden (“Golden”) is, and at all times relevant to this action was, a

   professional model and a resident of Los Angeles, California.

          33.     Plaintiff Jessica Burciaga (“Burciaga”) is, and at all times relevant to this action

   was, a professional model and a resident of Whittier, California.

          34.     Plaintiff Jessica (Jessa) Hinton (“Hinton”) is, and at all times relevant to this

   action was, a professional model and a resident of Sherman Oaks, California.

          35.     Plaintiff Joanna Krupa (“Krupa”) is, and at all times relevant to this action was, a

   professional model and a resident of Studio City, California.

          36.     Plaintiff Jordan Carver (“Carver”) is, and at all times relevant to this action was, a

   professional model and a resident of Las Vegas, Nevada.

          37.     Plaintiff Katerina Van Derham (“Van Derham”) is, and at all times relevant to this

   action was, a professional model and a resident of North Hollywood, California.

          38.     Plaintiff Kim Cozzens (“Cozzens”) is, and at all times relevant to this action was,

   a professional model and a resident of San Jose, California.




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          39.     Plaintiff Laurie Fetter Jacobs (“Fetter”) is, and at all times relevant to this action

   was, a professional model and a resident of Rye, New York.

          40.     Plaintiff Lina Posada (“Posada”) is, and at all times relevant to this action was, a

   professional model and a resident of San Gabriel, California.

          41.     Plaintiff Maria Zyrianova (“Zyrianova”) is, and at all times relevant to this action

   was, a professional model and a resident of Los Angeles, California.

          42.     Plaintiff Marketa Kazdova (“Kazdova”) is, and at all times relevant to this action

   was, a professional model and a resident of Los Angeles, California.

          43.     Plaintiff Masha Lund (“Lund”) is, and at all times relevant to this action was, a

   professional model and a resident of New York, New York.

          44.     Plaintiff Maysa Quy (“Quy”) is, and at all times relevant to this action was, a

   professional model and a resident of Las Vegas, Nevada.

          45.     Plaintiff Paola Canas (“Canas”) is, and at all times relevant to this action was, a

   professional model and a resident of Los Angeles, California.

          46.     Plaintiff Rachel Bernstein Koren (“Bernstein”) is, and at all times relevant to this

   action was, a professional model and a Los Angeles, California.

          47.     Plaintiff Sandra Valencia (“Valencia”) is, and at all times relevant to this action

   was, a professional model and a resident of San Gabriel, California.

          48.     Plaintiff Sara Underwood (“Underwood”) is, and at all times relevant to this

   action was, a professional model and a resident of Scappoose, Oregon.

          49.     Plaintiff Tiffany Toth (“Toth”) is, and at all times relevant to this action was, a

   professional model and a resident of Orange County, California.




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          50.     Plaintiff Vivian Kindle (“Kindle”) is, and at all times relevant to this action was, a

   professional model and a resident of West Hollywood, California.

          51.     Plaintiff Melanie Iglesias (“Iglesias”) is, and at all times relevant to this action

   was, a professional model and a resident of Toluca Lake, California.

          52.     Plaintiff Brenda Lynn Geiger (“Geiger”) is, and at all times relevant to this action

   was, a professional model and a resident of Brewerton, New York.

          53.     Plaintiff Heather Rae Young (“Young”) is, and at all times relevant to this action

   was, a professional model and a resident of Beverly Hills, California.

          54.     Plaintiff Rosa Acosta (“Acosta”) is, and at all times relevant to this action was, a

   professional model and a resident of Los Angeles, California.

   B. Velvet Lifestyles, LLC, f/k/a Velvet Lifestyles, Inc. d/b/a Miami Velvet

          55.     Velvet Lifestyles, LLC, f/k/a Velvet Lifestyles, Inc., (collectively, “Velvet

   Lifestyles”) is a limited liability corporation organized and existing under the laws of the State of

   Florida with a principal place of business at 3901 NW 77th Avenue, Miami, Florida 33180.

   Velvet Lifestyles is, and during all times relevant to the allegations in this Complaint was,

   operating and doing business “Miami Velvet” (as defined above, or “the Club”).

          56.     The Club is a private, members-only club marketing and catering locally and

   nationally to individuals who engage in the “swinger,” “spouse swapping” or open relationship

   lifestyle and who seek to regularly attend events where they can participate in those activities..

          57.     Clubs similar to Miami Velvet are distributed throughout the country and

   regularly seek to entice individuals who engage in the “swinger,” “spouse swapping,” or open

   relationship lifestyle to visit the Club where they can engage in sexual activities with likeminded




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   persons. Notably, Miami Velvet attracts significant numbers of tourists who visit the state of

   Florida and seek out swinger's clubs and sex parties to enjoy while they vacation.

           58.    Individuals who attend the Club’s events are sold memberships. Membership is

   not elective. Attendees must purchase a membership in order to enter the Club and attend an

   event. However, by purchasing a membership, which is valid for approximately two months,

   members are allowed to attend multiple events at the Club. Generally, the Club hosts three

   parties per week.

           59.    Defendants own and/or operate miamivelvet.com as well as other social media

   accounts and websites through which they advertise their business which frequently and

   continuously posts explicit, hardcore pornography to depict actual sex acts performed at the

   Club.

           60.    Miami Velvet has “members from all over the world” and holds multiple

   “swinger” or “spouse swapping” events throughout each month. For many of these events,

   Images of one or more of the Models are used to market and promote the events.

           61.    Prospective Members and interested parties typically purchase their memberships

   in one of two ways: at the door when they present at the Club for an event, or online in advance

   of any event after receiving advertisements for the Club’s events. According to Miami Velvet’s

   corporate representative’s sworn deposition testimony, the majority of Miami Velvet’s members

   choose to pay for their memberships online through the Club’s website.

           62.    The Club coordinates its advertising, marketing and promotional activities

   through, among other things, active and dynamic use of its website miamivelvet.com, an email

   distribution list that advertises the Club’s events to its members throughout the country and the




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   world, and various coordinated social media promotions through Facebook, Twitter, Instagram

   and Tumblr, among others.

              63.     For this reason, Defendants expressly acknowledged both in this action and in the

   SDC Action that its membership and services are extensively offered for sale in interstate

   commerce. Indeed, Defendants maintain that its services under the “Miami Velvet” mark have

   been widely advertised and extensively offered for sale and sold in interstate commerce in the

   United States and the State of Florida." SDC Action, 1:04-cv-21800-FAM (Doc 1 (Complaint) at

   ¶ 16.)

              64.     Online, Velvet Lifestyles describes the Club as:

                      Florida’s largest on premise Swingers Club! Swingers throughout South Florida,
                      from Miami, Fort Lauderdale, West Palm Beach, and the Florida Keys, as well as
                      across the world come to enjoy the best adult fantasy swinger’s club nightclub
                      around. Miami Velvet puts style in the lifestyle. Miami Velvet is open
                      Wednesday, Friday and Saturday nights and hosts monthly themed parties. It also
                      hosts parties from some of the biggest names in the Lifestyle.3

   C. Defendant Joy Dorfman, a/k/a Joy Zipper

              65.     Joy Dorfman (“Dorfman”), a/k/a Joy Zipper, is an individual who works and/or

   resides in Broward County, Florida.

              66.     Dorfman presently serves, and during all times relevant to the allegations raised

   herein served, as the President of Defendant Velvet Lifestyles, LLC.

              67.     Dorfman serves, and during all time relevant to the allegations raised herein

   served, as Managing Member of Defendant My Three Yorkies, LLC.

              68.     As President of Defendant Velvet Lifestyles, LLC, and Managing Member of

   Defendant My Three Yorkies, LLC, Dorfman has, and during all times relevant to the allegations

   raised herein had, operational and managerial control and responsibility over the business


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       http://miamivelvet.com.

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   operations of, and decision-making authority for, Velvet Lifestyles and the Club, including

   decisions relating to Miami Velvet's promotional, advertising, marketing and endorsement

   activities such as those detailed in this Complaint.

          69.     Dorfman is married to Randy Dorfman who, while taking an active role in the

   management and operation of Velvet Lifestyles, My Three Yorkies, LLC, and Globex, LLC,

   which is the managing member of My Three Yorkies, LLC.

   D. Defendant “My Three Yorkies, LLC”

          70.     My Three Yorkies, LLC (“Yorkies”) is a limited liability corporation organized

   and existing under the laws of the State of Florida with a principal place of business at 6070 N.

   Federal Highway, Boca Raton, Florida 33487.

          71.     Yorkies presently serves, and during all times relevant to the allegations raised

   herein served, as the Managing Member of Velvet Lifestyles. As Managing Member, Yorkies

   has, and during all times relevant to the allegations raised herein had, operational and managerial

   control and responsibility over the business operations of and decision-making authority for

   Velvet Lifestyles and the Club, including decisions relating to Miami Velvet’s promotional,

   advertising, marketing and endorsement activities such as those detailed in this Complaint.

   E. The Miami Velvet Websites and Business Model

          72.     Defendants have a unified business structure, through which Defendants advertise

   events at the Club and offers members of the Club to attend those events through payment of a

   discounted fee.

          73.     Miamivelvet.com is registered to Velvet Lifestyles, LLC, f/k/a Velvet Lifestyles,

   Inc.




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          74.     The exhibits hereto reflect that the infringing images which form the basis for the

   claims raised herein were jointly advertised and/or promoted by the Defendants for the benefit of

   all Defendants.

                                   JURISDICTION AND VENUE

          75.     This Court has original federal question jurisdiction over the claims in this action

   pursuant to 28 U.S.C. § 1331 as Plaintiffs have each individually stated claims under the Lanham

   Act, 28 U.S.C. § 1125(a)(1).

          76.     The Court has personal jurisdiction over Defendants Velvet Lifestyles, LLC and

   My Three Yorkies, LLC based on their contacts with the State of Florida, including but not

   limited to each Defendant's registration to conduct business in Florida, each has its physical

   location and principal place of business in Florida, and each, upon information and belief,

   committed, facilitated, assisted, encouraged or conspired to commit the actions giving rise to the

   harm and damages alleged herein in the State of Florida.

          77.     The Court has personal jurisdiction over Defendant Dorfman. Defendant Dorfman

   lives and works in the State of Florida, operates the Club as its president in the State of Florida,

   and, upon information and belief, is ultimately responsible for the decisions and business choices

   for the Club and My Three Yorkies, LLC that give rise to the allegations in the Complaint.

          78.     Venue is proper in the United States District Court for the Southern District of

   Florida pursuant to 28 U.S.C. §§ 1391(a) and (b) because all Defendants reside in the Southern

   District of Florida and have their principal place of business in either Broward or Miami-Dade

   County, Florida and all acts giving rise to the claims set forth herein occurred or originated in

   either Broward or Miami-Dade County, both of which are in the Southern District of Florida.




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                                     FACTUAL BACKGROUND

   A. Standard and Customary Business Practices in the Modeling Industry Require Arms-
      Length Negotiations over the Terms and Conditions of Usage and Remuneration for
      any Modeling Images

          79.      In the modeling industry, reputation is critical. Being vigilant and proactive about

   protecting one’s reputation is therefore of paramount importance.

          80.      Each Plaintiff is a professional model who earns a living by promoting her image

   and likeness to select clients, commercial brands, media and entertainment outlets, as well as

   relying on her reputation and own brand for modeling, acting, hosting, and other opportunities.

          81.      Not one Plaintiff has ever participated in the hardcore pornography industry,

   whether magazine, film or streaming online media. On the contrary, each Plaintiff’s career in

   modeling, acting, and/or private enterprise has value stemming from the goodwill and reputation

   each has built, all of which is critical to establishing a brand, being selected for jobs and

   maximizing earnings.

          82.      Each Plaintiff has worked to establish herself as reliable, reputable and

   professional.

          83.      Each Plaintiff must necessarily be vigilant in protecting her “brand” from harm,

   taint, or other diminution.

          84.      Any improper or unauthorized use of an image, likeness or identity could

   substantially injure the career and career opportunities of each Plaintiff.

          85.      In the modeling industry, models such as Plaintiffs typically do not have a single

   employer, but rather work on an independent contractor basis for different agents or entities.




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          86.      Each Plaintiff is a responsible professional in the ordinary course. Each Plaintiff

   seeks to control the use and dissemination of her image and, thus, actively participates in vetting

   and selecting modeling, acting, brand spokesperson, or hosting engagements.

          87.      A model’s vetting and selection of a professional engagement involves a multi-

   tiered assessment, to wit:

                a. determine whether the individual or entity seeking a license and release of a

                   model’s image, likeness or identity is reputable, has reputable products or

                   services, and, through affiliation therewith, would enhance or harm a model's

                   stature or reputation;

                b. this reputational information is used in negotiating compensation which typically

                   turns on the work a model is hired to do, the time involved, travel and how her

                   image is going to be used (among other variables);

                c. to protect her reputation and livelihood, a model or agent carefully and expressly

                   defines the terms and conditions of use;

                d. the entire negotiated deal is reduced to and memorialized in an integrated, written

                   agreement which defines the parties’ relationship. The terms and conditions of

                   the Agreement typically, unless otherwise expressly delineated, bind and are

                   applicable to only the parties to that Agreement.

          88.      Endorsing, promoting, advertising or marketing the “wrong” product, service or

   corporate venture, or working in or being affiliated with a disreputable industry can severely

   impact a model’s career by limiting or foreclosing future modeling or brand endorsement

   opportunities. Conversely, association with high-end companies, products, or magazines can




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   enhance and amplify a model’s earning potential and career opportunities by making a model

   more sought after and desirable.

          89.     For these reasons, even if a model chose to jeopardize her career for a

   compromising engagement – such as appearing in an advertisement for a “swingers” club that

   posts boastful images of group sex, 3-in-1 “gang bangs” and anal penetration with clustered

   Sharpie markers – the fee she would charge would necessarily far exceed the fee typically

   charged for more mainstream and reputable work.

   B. Defendants Have Misappropriated and Altered Each Plaintiff’s Image, Likeness and
      Identity For Use In Interstate Commerce Without Authority, for Self-Serving
      Commercial Gain and Without Offering or Paying Compensation to any Plaintiff

          90.     As set forth below, each Plaintiff’s image, likeness and/or identity has been

   misappropriated and intentionally altered by or at the direction of the Defendants for use in

   interstate commerce by incentivizing potential members from around the United States to

   purchase online memberships after viewing advertisements featuring Plaintiffs’ Images and to

   travel across state lines to attend events at the Club. Defendants’ conduct created the false and

   misleading appearance and impression that each Plaintiff either worked for Defendants, had

   appeared and participated or would appear and participate in Defendants' activities or events at

   the Club, and/or has agreed and consented to advertise, promote, market or endorse Defendants'

   business, the Club or one or more Club events or activities.

          91.     The images at issue affect interstate commerce as such images were lawfully used

   by corporations in interstate commerce to advertise products and services.

          92.     Defendants promote the Club on the Internet through Facebook, Instagram, and

   other websites and social media that operate through interstate commerce and are viewable and

   have been viewed by persons in and out of the state of Florida.



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          93.     Defendants use a Utah-based company, TXT180, Inc. to send text messages or

   text “blasts” to advertise the Club’s events, including, upon information and belief, events that

   were advertised using Plaintiffs’ images. Persons that subscribe to such text messages or text

   blasts participate in advertising that is sent via text message across state lines and through

   interstate commerce.

          94.      The companies and websites through which the offending advertisements were

   promoted online traveled through interstate commerce as the servers for websites that hosted the

   offending advertisements are maintained outside of Florida and are owned by companies that are

   located outside of Florida.

          95.     Defendants’’ online marketing was accessible to individuals through the United

   States and the world.

          96.     Defendant’s President and chief executive, Randy Dorfman, operates the Club

   and its marketing strategy from Nevada and therefore operates the Club across state lines.

          97.     Defendant’s President and chief executive, Randy Dorfman, upon information

   and belief, regularly transfers money and assets from the Club to himself in Nevada.

          98.     Defendants coordinate their advertising with nationwide swinger networks and

   swinger social networking websites, and therefore advertise Club events through interstate

   commerce.

                                  Plaintiff Jaime Faith Edmondson

          99.     Edmondson is, and at all times relevant to this action was, a successful

   professional model and actress with numerous accomplishments. After graduating from Florida

   Atlantic University with a degree in Criminal Justice in 2002, Edmondson worked as a police

   officer in Boca Raton, Florida for two years. She then became a cheerleader for the Miami



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   Dolphins. Edmondson, along with a fellow Miami Dolphins cheerleader, participated in "The

   Amazing Race 14" reality TV series. As a model, Edmondson was a Playboy Playmate. She is

   also a sports blogger for Playboy online and co-host of Sirius Fantasy Sports Radio. Edmondson

   appeared on "The Bunny House" documentary, and in the Trace Adkins video for "This Aint No

   Love Song," among others.

            100.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Edmondson negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

            101.   Edmondson's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit B to the Complaint, which has been used at least two times and altered to

   create the false perception that Edmondson has consented or agreed to promote, advertise,

   market and/or endorse the Club's events to benefit Defendants' commercial interests.

            102.   Even after Edmondson's objection outlined in the demand and cease/desist letter

   of October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images

   or otherwise respond to or comply with Edmondson's demands.

            103.   Edmondson's image, likeness and identity in Exhibit B are being used as

   advertising.

            104.   Edmondson's image, likeness and identity in Exhibit B are being used on social

   media.

            105.   Edmondson has never been employed by Defendants or contracted with

   Defendants to participate in events at the Club.

            106.   Edmondson has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.



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          107.    Defendants never sought permission or authority to use or alter Edmondson's

   image, likeness or identity to advertise, promote, market or endorse Defendants' business, the

   Club, or any Club event.

          108.    Edmondson never gave permission, or assigned, licensed or otherwise consented

   to Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          109.    Defendants neither offered nor paid any remuneration to Edmondson for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          110.    Defendants' use of Edmondson's image, likeness and identity in connection with

   the Club's "swinger" events impugns Edmondson's character, embarrasses her, and suggests –

   falsely – her support for and participation in such a lifestyle and, given the proximity to images

   of explicit, hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          111.    Defendants’ use of Edmondson’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Edmondson endorsed

   the Club and its swinger events, that she would attend Club events, and that members attending

   that same event could potentially engage in sexual activity with her.

          112.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Edmondson's images in their market activities and business.

   In doing so, Defendants have further damaged Edmondson.



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                                   Plaintiff Ana Cheri (Moreland)

          113.   Cheri is, and at all times relevant to this action was, a successful professional

   model, spokeswoman, businesswoman and actress with numerous accomplishments. As a model

   and spokeswoman, Cheri was a Playboy Playmate and also works Shredz Supplements as a

   model, brand Ambassador and motivational speaker representing strength, positivity and healthy

   lifestyles. Cheri is contracted to appear at events and seminars and has worked with many big

   name companies and charities around the world. As a businesswoman, Cheri recently launched a

   new gym, "Be More Athletics" in Santa Ana, California and debuted in Muscle & Fitness

   Magazine.

          114.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Cheri negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          115.   Cheri's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit C to the Complaint, which has been used at least four times and altered to

   create the false perception that Cheri has consented or agreed to promote, advertise, market

   and/or endorse the Club and the Club's events to benefit Defendants' commercial interests.

          116.   Even after Cheri's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Cheri's demands.

          117.   Cheri's image, likeness and identity in Exhibit C are being used as advertising.

          118.   Cheri's image, likeness and identity in Exhibit C are being used on social media.

          119.   Cheri's image, likeness and identity in Exhibit C are tagged with "#swingersclub"

   and "#swingersparty" and are being used for branding purposes.



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          120.    Cheri's image, likeness and identity in Exhibit C have an additional usage, having

   been tagged with "Rate her . . . 1<2<3>4,. . . ."

          121.    Cheri has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          122.    Cheri has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          123.    Defendants never sought permission or authority to use or alter Cheri's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          124.    Cheri never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          125.    Defendants neither offered nor paid any remuneration to Cheri for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          126.    Defendants' use of Cheri's image, likeness and identity in connection with the

   Club's "swinger" events impugns Cheri's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          127.    Defendants’ use of Cheri’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Cheri endorsed the



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   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          128.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Cheri's images in their market activities and business. In doing

   so, Defendants have further damaged Cheri.

                                        Plaintiff Carrie Minter

          129.    Minter is, and at all times relevant to this action was, a successful professional

   model, actress and businesswoman with numerous accomplishments. As a model, Minter was a

   Playboy Playmate, and has appeared in such other magazines as GQ, Maxim, FHM, Seventeen,

   Aroos Bridal Magazine, Apparel News. Minter has also been featured in advertising campaigns

   for Harley Davidson, Dreamgirl International, Elegant Moments Lingerie, Benchwarmer Trading

   Cards, JC Penney, Women's Wear Daily, Simin Couture, the Beverly Hills Hotel, Ferrari,

   Renaissance Hotel & Spa, Gillette, Love FiFi Lingerie, Music Legs, Linder Sport/Sexy

   Shapewear, Have Faith Swimgerie, Wendy Griffin Jewelry, Shirley of Hollywood, and many

   other companies. Minter has also been featured in commercials, television series, music videos,

   and films. Minter's business ventures include her ownership of "Carrie's Pilates Plus."

          130.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Minter negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          131.    Minter's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit D to the Complaint, which has been used at least four times and altered to




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   create the false perception that Minter has consented or agreed to promote, advertise, market

   and/or endorse the Club's "Nothing But Net" event to benefit Defendants' commercial interests.

          132.    Even after Minter's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Minter's demands.

          133.    Minter's image, likeness and identity in Exhibit D are being used as advertising.

          134.    Minter's image, likeness and identity in Exhibit D are being used on social media.

          135.    Minter's image, likeness and identity in Exhibit D are being used as a "coupon",

   offering "Single Ladies wearing fishnets Free Entry."

          136.    Minter's image, likeness and identity in Exhibit D are tagged with "It's going to

   get erotic fast" and are being used for branding purposes.

          137.    Minter has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          138.    Minter has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          139.    Defendants never sought permission or authority to use or alter Minter's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club or

   any Club event.

          140.    Minter never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants business, the Club or any Club event.

          141.    Defendants neither offered nor paid any remuneration to Minter for the

   unauthorized use or self-serving alteration of her image, likeness or identity.



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          142.    Defendants' use of Minter's image, likeness and identity in connection with the

   Club's "swinger" events impugns Minter's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          143.    Defendants’ use of Minter’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Minter endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          144.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Minter's images in their market activities and business. In

   doing so, Defendants have further damaged Minter.

                                      Plaintiff Cielo Jean Gibson

          145.    Gibson is, and at all times relevant to this action was, a successful businesswoman

   and professional model with numerous accomplishments. Gibson's business ventures include

   developing her own line of health supplements and fitness clothing. As a model, Gibson was the

   Import Tuner magazine Model Search winner, is a model for the Falken Drift Team, and has

   appeared in magazines such as FHM, American Curves as a cover model, Supreme, MuscleMag

   International, Muscle & Fitness, Teeze, and in a Bowflex ad. Gibson has also modeled for Short

   Block Technologies (SBT, Inc.), and appeared in a home workout video called ENVY.



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            146.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Gibson negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

            147.   Gibson's image, likeness and identity are depicted in at least five photographs,

   enclosed as Exhibit E to the Complaint, one of which has been used at least four times and

   altered to create the false perception that Gibson has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Genie in a Bottle Party," and the four remaining images

   having been similarly misused and altered to create the false impression that Gibson has

   consented or agreed to promote, advertise, market and/or endorse the Club and its other events to

   benefit Defendants' commercial interests.

            148.   Even after Gibson's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Gibson's demands.

            149.   Gibson's image, likeness and identity in Exhibit E are being used as advertising.

            150.   Gibson's image, likeness and identity in Exhibit E are being used on social

   media.

            151.   Gibson's image, likeness and identity in Exhibit E are being used as a "coupon",

   having been tagged with "Entry is Free."

            152.   Gibson's image, likeness and identity in Exhibit E are tagged with

   "members.miamivelvet" and are being used for branding purposes.

            153.   Gibson has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.




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          154.    Gibson has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          155.    Defendants never sought permission or authority to use or alter Gibson's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          156.    Gibson never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          157.    Defendants neither offered nor paid any remuneration to Gibson for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          158.    Defendants' use of Gibson's image, likeness and identity in connection with the

   Club's "swinger" events impugns Gibson's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          159.    Defendants’ use of Gibson’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Gibson endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          160.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to



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   further utilize and misappropriate Gibson's images in their market activities and business. In

   doing so, Defendants have further damaged Gibson.

                                        Plaintiff Cora Skinner

          161.    Skinner is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, and actress with numerous accomplishments. As a model, Skinner

   has appeared in pictorials and features in Maxim (USA), Maxim (Spain), FHM (USA), Maxim

   (Belgium), Muscle & Fitness, and Playboy's lingerie catalog. Skinner has also been featured on

   her own set of Bench Warmer model trading cards and was a contract model of Hot Bike and

   Import Tuner. As a brand spokesperson, Skinner has featured in campaigns for Sketchers,

   Aether Apparel, Monari Clothing, GUESS, Sears, Palm’s Casino, Nordstrom’s and many others.

   As an actress, Skinner has presented trophies at the Emmys, dressed up like a superhero for

   Spike TV’s Scream Awards and has done several live skits on Jay Leno’s Tonight Show. She

   has also been featured on such shows as Las Vegas, Shark, Deal or No Deal, Chuck, Rules of

   Engagement, CSI: Miami and The Office. Skinner also starred in the “Nine Lives" video by Def

   Leopard, and "Just Go" by Lionel Richie.

          162.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Skinner negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          163.    Skinner's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit F to the Complaint, which has been used at least three times and altered to

   create the false perception that Skinner has consented or agreed to promote, advertise, market

   and/or endorse the Club's "Veteran's Day Crazy Camo Party" event to benefit Defendants'

   commercial interests.



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            164.   Even after Skinner's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Skinner's demands.

            165.   Skinner's image, likeness and identity in Exhibit F are being used as advertising.

            166.   Skinner's image, likeness and identity in Exhibit F are being used on social

   media.

            167.   Skinner's image, likeness and identity in Exhibit F are tagged with ". . . pure

   erotic fun . . ." and are being used for branding purposes.

            168.   Skinner has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

            169.   Skinner has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            170.   Defendants never sought permission or authority to use or alter Skinner’s image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            171.   Skinner never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            172.   Defendants neither offered nor paid any remuneration to Skinner for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            173.   Defendants' use of Skinner's image, likeness and identity in connection with the

   Club's "swinger" events impugns Skinner's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,



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   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          174.    Defendants’ use of Skinner’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Skinner endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          175.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Skinner's images in their market activities and business. In

   doing so, Defendants have further damaged Skinner.

                                        Plaintiff Danielle Ruiz

          176.    Ruiz is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, host and actress with numerous accomplishments. As a model, Ruiz

   has worked for Foreplay Lingerie, Elegant Moments, Escante Lingerie, Hustler Apparel, Body

   Zone Apparel, and Ziggy NY shoes. She was a contract model for Frederick's of Hollywood and

   L*Space and has appeared in many magazines and on the covers of Maxim and Elegant. As a

   brand spokesperson, Ruiz was Rockstar Energy’s "Miss Motocross" and Monster Energy Dime

   Squad Girl. As a host and actress, Ruiz has appeared on The New Girl, The Finder, Breaking In,

   Cougar Town, CSI, Entourage, Miami Trauma, Dark Blue, Love Bites, Friends With Benefits,

   Battle LA: The Ex’s and hosted the series World Poker Tour (WPT): Royal Flush.




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          177.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Ruiz negotiated and expressly granted authority for such use pursuant to

   agreed-upon terms and conditions and for agreed-upon compensation.

          178.    Ruiz's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit G to the Complaint, one of which has been used at least four times and

   altered to create the false perception that Ruiz has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Bunny Bash" and the second of which has been used and

   similar altered to create the false impression that Ruiz has consented or agreed to promote,

   advertise, market and/or endorse the Club's "animal print" themed event to benefit Defendants'

   commercial interests.

          179.    Even after Ruiz's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Ruiz's demands.

          180.    Ruiz's image, likeness and identity in Exhibit G are being used as advertising.

          181.    Ruiz's image, likeness and identity in Exhibit G are being used on social media.

          182.    Ruiz's image, likeness and identity in Exhibit G are tagged with "SDC" for

   "Swingers Date Club" and "#swingersclub" and are being used for branding purposes.

          183.    Ruiz's image, likeness and identity in Exhibit G have also been tagged

   "#flipagram" and used on a video and flipagram.

          184.    Ruiz's image, likeness and identity in Exhibit G have been used for an additional,

   foreseeable use by Xcitement magazine.

          185.    Ruiz has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.



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          186.    Defendants never sought permission or authority to use or alter Ruiz's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          187.    Ruiz never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          188.    Defendants neither offered nor paid any remuneration to Ruiz for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          189.    Defendants' use of Ruiz's image, likeness and identity in connection with the

   Club's "swinger" events impugns Ruiz's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          190.    Defendants’ use of Ruiz’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Ruiz endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          191.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Ruiz's images in their market activities and business. In doing

   so, Defendants have further damaged Ruiz.



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                                          Plaintiff Eva Pepaj

          192.    Pepaj is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, and actress with numerous accomplishments. Pepaj has appeared in

   numerous print and media advertisements, including a national Diet Coke TV commercial and in

   advertisements for Oil of Olay, Fruit of the Loom, Kohler and Coca Cola. As an actress, Pepaj

   has had a lead role in The Hand Off, Interior, Leather Bar, and The Romp.

          193.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Pepaj negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          194.    Pepaj's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit H to the Complaint, which has been used at least four times and altered to

   create the false perception that Pepaj has consented or agreed to promote, advertise, market

   and/or endorse the Club's "St Patty's Day Meet & Greet" event to benefit Defendants'

   commercial interests.

          195.    Even after Pepaj's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Pepaj's demands.

          196.    Pepaj's image, likeness and identity in Exhibit H are being used as advertising.

          197.    Pepaj's image, likeness and identity in Exhibit H are being used on social media.

          198.    Pepaj's image, likeness and identity in Exhibit H are tagged with "SDC" for

   "Swingers Date Club" and "the premier swing club" and are being used for branding purposes.

          199.    Pepaj's image, likeness and identity in Exhibit H are also being used as a

   "coupon", offering "the earlier you arrive, the less your admission price."



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          200.    Pepaj has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          201.    Defendants never sought permission or authority to use or alter Pepaj's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          202.    Pepaj never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          203.    Defendants neither offered nor paid any remuneration to Pepaj for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          204.    Defendants' use of Pepaj's image, likeness and identity in connection with the

   Club's "swinger" events impugns Pepaj's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          205.    Defendants’ use of Pepaj’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Pepaj endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          206.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to



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   further utilize and misappropriate Pepaj's images in their market activities and business. In doing

   so, Defendants have further damaged Pepaj.

                                      Plaintiff Heather Depriest

          207.    Depriest is, and at all times relevant to this action was, a successful professional

   model and brand spokesperson with numerous accomplishments. Depriest has made multiple

   appears in national GUESS campaigns and her image has been used repeatedly in magazines, on

   posters, billboards and in store displays for GUESS. Depriest is the September 2015 Playboy

   cover girl, and has appeared in multiple other magazines including L’official, Hudson Hawaii

   magazine, Kode magazine and Latch.         Depriest has also been a national brand model for

   products such as Sexy Hair, Faces by Lena and Alfaparf products.

          208.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Depriest negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

          209.    Depriest's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit I to the Complaint, one of which has been used at least four times and

   altered to create the false perception that Depriest has consented or agreed to promote, advertise,

   market and/or endorse the Club's ""Shake Your Tailfeather Booty Shaking Context for Cash"

   event and the other of which has been used as least three times and similarly altered to create the

   false perception that Depriest has consented or agreed to promote, advertise, market and/or

   endorse a wild "animal print" party at the Club to benefit Defendants' commercial interests.

          210.    Even after Depriest's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Depriest's demands.



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            211.   Depriest's image, likeness and identity in Exhibit I are being used as advertising.

            212.   Depriest's image, likeness and identity in Exhibit I are being used on social

   media.

            213.   Depriest's image, likeness and identity in Exhibit I are tagged with "#swingers"

   and "#swingersclub" and are being used for branding purposes.

            214.   Depriest's image, likeness and identity in Exhibit I are also being used as a

   "coupon", advertising cash prizes for participation in the "Shake Your Tailfeather" contest.

            215.   Depriest has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            216.   Defendants never sought permission or authority to use or alter Depriest's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            217.   Depriest never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            218.   Defendants neither offered nor paid any remuneration to Depriest for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            219.   Defendants' use of Depriest's image, likeness and identity in connection with the

   Club's "swinger" events impugns Depriest's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.




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          220.    Defendants’ use of Depriest’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Depriest endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          221.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Depriest's images in their market activities and business. In

   doing so, Defendants have further damaged Depriest.

                                       Plaintiff Irina Voronina

          222.    Voronina is, and at all times relevant to this action was, a successful professional

   model, spokesmodel and actress with numerous accomplishments. As a model, Voronina has

   modeled internationally for more than 14 years, was a Playboy "Playmate of the Month" and has

   been named "Model Of the Year" by Kandy Magazine based on the highest number of digital

   issue downloads on iPad and iPhone. Voronina has also modeled for international brands such

   as SKYY Vodka, Miller Lite, Michelob Ultra, Bacardi, and Sisley & Detour, among others.

   Additionally, Voronina has appeared in numerous magazines including FHM, Maxim, Maxim

   (Italy), Ocean, Shape, 944, Knockout, Q (UK), and People (Australia). Voronina was a St Pauli

   Girl Beer spokes model, led a year-long public relations tour across the United States for the beer

   brand, and became first ever St. Pauli Girl to ring the NYSE closing bell. As a spokesmodel,

   Voronina was the main host of Playboy Radio’s weekly shows “Playmate Club” and interviewed

   hundreds of celebrities live on air. As an actress, Voronina has appeared in Reno 911, Balls of



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   Fury, Towelhead, and Piranha 3DD, as well as television shows Svetlana, on the live action

   show Saul of the Mole Men, and as a guest star on Nickelodeon’s iCarly.

            223.   Voronina has more than 2 million Facebook fans.

            224.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Voronina negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

            225.   Voronina's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit J to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Voronina has consented or agreed to promote,

   advertise, market and/or endorse the Club's "Horny as Hell" Halloween party and the other of

   which has been used and similarly altered to create the false perception that Voronina has

   consented or agreed to promote, advertise, market and/or endorse the Club's "sexiest fairy tale

   princess" themed event to benefit Defendants' commercial interests.

            226.   Even after Voronina's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Voronina's demands.

            227.   Voronina's image, likeness and identity in Exhibit J are being used as

   advertising.

            228.   Voronina's image, likeness and identity in Exhibit J are being used on social

   media.

            229.   Voronina's Image, likeness and identity in Exhibit J are tagged with "horny as

   hell," "sexual gratification," and "Youngest Swingers Club" and are being used for branding

   purposes.



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          230.    Voronina's Image, likeness and identity in Exhibit J are also being used as a

   "coupon", offering new members "Free One Month Membership."

          231.    Voronina has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.

          232.    Voronina has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          233.    Defendants never sought permission or authority to use or alter Voronina's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club or

   any Club event.

          234.    Voronina never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          235.    Defendants neither offered nor paid any remuneration to Voronina for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          236.    Defendants' use of Voronina's image, likeness and identity in connection with the

   Club's "swinger" events impugns Voronina's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          237.    Defendants’ use of Voronina’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Voronina endorsed the



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   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          238.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Voronina's images in their market activities and business. In

   doing so, Defendants have further damaged Voronina.

                                        Plaintiff Jesse Golden

          239.    Golden is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson and businesswoman with numerous accomplishments. Her business

   ventures include being a Holistic Health Practitioner and is a certified Hatha Yoga instructor. As

   a model and brand spokesperson, Golden has worked with national and international brands such

   as Abercrombie & Fitch, Victoria Secret, Speedo, Lucy Sport, Coca Cola, Gap, Nike. She has

   also appeared on the covers of the New York Times Magazine, Fitness Magazine, Newport Beach

   Magazine, and Yoga International, among others.

          240.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Golden negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          241.    Golden's image, likeness and identity are depicted in at least four photographs,

   enclosed as Exhibit K to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Golden has consented or agreed to promote, advertise,

   market and/or endorse the Club's Toga Part themed event, another of which was used at least

   three times and similarly altered to create the false perception that Golden has consented or

   agreed to promote, advertise, market and/or endorse the Club's "Moulin Rouge" event, a third of



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   which was used and similarly altered to create the false perception that Golden has consented or

   agreed to promote, advertise, market and/or endorse the Club's "Polka Dot Paradize" party, and a

   fourth of which was used and similarly altered to create the false perception that Golden has

   consented or agreed to promote, advertise, market and/or endorse the Club's "Candy Cane

   Martini Cocktail party" to benefit Defendants' commercial interests.

            242.   Even after Golden's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Golden's demands.

            243.   Golden's image, likeness and identity in Exhibit K are being used as advertising.

            244.   Golden's image, likeness and identity in Exhibit K are being used on social

   media.

            245.   Golden's image, likeness and identity in Exhibit K are tagged with "SDC" for

   Swingers Date Club and "very arousing night" and are being used for branding purposes.

            246.   Golden has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            247.   Defendants never sought permission or authority to use or alter Golden's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            248.   Golden never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            249.   Defendants neither offered nor paid any remuneration to Golden for the

   unauthorized use and self-serving alteration of her image, likeness or identity.



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          250.    Defendants' use of Golden's image, likeness and identity in connection with the

   Club's "swinger" events impugns Golden's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          251.    Defendants’ use of Golden’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Golden endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          252.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Golden's images in their market activities and business. In

   doing so, Defendants have further damaged Golden.

                                       Plaintiff Jessica Burciaga

          253.    Burciaga is, and at all times relevant to this action was, a successful

   businesswoman, professional model and actress with numerous accomplishments. Burciaga's

   business ventures include a women’s online clothing boutique, www.SailorandSaint.com. As a

   model, Burciaga won Stuff Magazine’s “Neighborhood Knockout” contest, appeared as a ring

   girl in EA Sports Fight Night Round 3 video game, was a Playboy Playmate, and was featured in

   Maxim, Import Tuner, Modified Magazine, Performance Auto & Sound, Show Latina, and




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   Lowrider Magazine, among others. As an actress, Burciaga has appeared as herself in several

   episodes of "The Girls Next Door" reality TV series.

          254.    Burciaga has over 1.2 million Instagram followers and 200,000 Twitter

   subscribers.

          255.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Burciaga negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

          256.    Burciaga's image, likeness and identity are depicted in at least four photos,

   enclosed as Exhibit L to the Complaint, one of which has been used at least four times and

   altered to create the false perception that Burciaga has consented or agreed to promote, advertise,

   market and/or endorse the Club's blue-themed event, another of which was used at least four

   times and similarly altered to create the false perception that Burciaga has consented or agreed to

   promote, advertise, market and/or endorse the Club's "SEXY Latin weekend" events, a third of

   which was used at least four times and similarly altered to create the false perception that

   Burciaga has consented or agreed to promote, advertise, market and/or endorse the Club's "Wine-

   O" wine & cheese event, and the fourth of which was used at least three times and similarly

   altered to create the false perception that Burciaga has consented or agreed to promote, advertise,

   market and/or endorse the Club's wild animal print-themed event to benefit Defendants'

   commercial interests.

          257.    Even after Golden's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Golden's demands.




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            258.   Burciaga's image, likeness and identity in Exhibit L are being used as

   advertising.

            259.   Burciaga's image, likeness and identity in Exhibit L are being used on social

   media.

            260.   Burciaga's image, likeness and identity in Exhibit L are tagged with

   "#swingersclub" and are being used for branding purposes.

            261.   Burciaga's image, likeness and identity in Exhibit L are being used for the

   additional purposes as a video and flipagram.

            262.   Burciaga has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.

            263.   Burciaga has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            264.   Defendants never sought permission or authority to use or alter Burciaga's image,

   likeness or identity to advertise, promote, market or endorse Defendants, the Club, or any Club

   event.

            265.   Burciaga never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club, or any Club event.

            266.   Defendants neither offered or paid any remuneration to Burciaga for the

   unauthorized use or self-serving alteration of her image, likeness or identity.

            267.   Defendants' use of Burciaga's image, likeness and identity in connection with the

   Club's "swinger" events impugns Burciaga's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,



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   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          268.    Defendants’ use of Burciaga’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Burciaga endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          269.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Burciaga's images in their market activities and business. In

   doing so, Defendants have further damaged Burciaga.

                                        Plaintiff Jessica Hinton

          270.    Hinton is, and at all times relevant to this action was, a successful

   businesswoman, professional model, host, actress and television personality with numerous

   accomplishments. Hinton's business ventures include being named Creative Director for MAJR

   Media and given part ownership for her role with the company. As a model, Hinton has been the

   Palms Hotel & Casino’s ad campaign spokesmodel, a Playboy "Playmate of the Month," has

   been featured as the front cover model for magazines such as FHM, Kandy Magazine, MMA

   Sports Magazine, Guitar World and Muscle & Fitness Magazine. She served as the spokesmodel

   for Milwaukee’s Best Beer in conjunction with Playboy Enterprises, the spokesmodel for

   Affliction Clothing, Enzo Milano Hair Products, REVIV Wellness Spa, Protein World and has

   ongoing modeling contracts with Rhonda Shear Shapewear, Leg Avenue and Roma Costume.



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   Her images have appeared on billboards, magazines, posters, and multiple forms of electronic

   media. As an actress, Hinton has appeared in multiple national television commercials, on

   “Baywatch” and “7th Heaven.” Hinton has also been the host of Victory Poker interviewing

   poker players and celebrities and as an interview personality for Top Rank Boxing, interviewing

   Manny Pacquiao and Shane Mosley.          Hinton has also been a guest host for Los Angeles

   television station KTLA.

            271.   Hinton has 1 million Instagram followers.

            272.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Hinton negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

            273.   Hinton's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit M to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Hinton has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Nuts & Bolts" meet and greet event, and another of which has

   been used at least three times to create the false perception that Hinton has consented or agreed

   to promote, advertise, market and/or endorse another non-descript Club event to benefit

   Defendants' commercial interests.

            274.   Even after Hinton's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Hinton's demands.

            275.   Hinton's image, likeness and identity in Exhibit M are being used as advertising.

            276.   Hinton's image, likeness and identity in Exhibit M are being used on social

   media.



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          277.    Hinton's image, likeness and identity in Exhibit M are tagged with "sexiest meet

   and greet," "#swingersclub" and "#swingers" and are being used for branding purposes.

          278.    Hinton has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          279.    Hinton has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          280.    Defendants never sought permission or authority to use or alter Hinton's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          281.    Hinton never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          282.    Defendants neither offered nor paid any remuneration to Hinton for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          283.    Defendants' use of Hinton's image, likeness and identity in connection with the

   Club's "swinger" events impugns Hinton's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          284.    Defendants’ use of Hinton’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Hinton endorsed the



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   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          285.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Hinton's images in their market activities and business. In

   doing so, Defendants have further damaged Hinton.

                                        Plaintiff Joanna Krupa

          286.    Krupa is, and at all times relevant to this action was, a successful professional

   model, actress and television personality, and spokesperson with numerous accomplishments.

   As a model, Krupa has appeared twice on the cover of Playboy, is a lingerie model for

   Frederick's of Hollywood, and appeared on the covers of such magazines as Envy, FHM,

   Personal, Inside Sport, Stuff, Steppin' Out, Teeze, Shape and Maxim, in which she was named the

   "Sexiest Swimsuit Model in the World." As an actress and television personality, Krupa has

   appeared in the film Max Havoc: Curse of the Dragon, the television show Superstars, made

   multiple appearances on the CSI and Las Vegas television series, and appeared as a contestant on

   Season 9 of ABC’s Dancing with the Stars. Additionally, since 2010 Krupa has been head judge

   of Poland's Next Top Model, and is a cast member of Bravo’s The Real Housewives of Miami.

   She has also appeared as a guest on Jimmy Kimmel, Chelsea Lately, Jenny Jones, Guys Choice,

   Howard Stern’s On Demand, The View, Poker 2 night, The Wendy Williams Show.

          287.    Krupa has nearly 500,000 Instagram followers and over eight hundred thousand

   Facebook followers.

          288.    Krupa is a spokeswoman for People for the Ethical Treatment of Animals

   ("PETA") worldwide.



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          289.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Krupa negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          290.    Krupa's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit N to the Complaint, one of which has been used at least five times and

   altered to create the false perception that Hinton has consented or agreed to promote, advertise,

   market and/or endorse the Club's "FCUK ME FRIDAY" event (with the patently revealing too-

   cute-by-half "disclaimer" that "[w]e're not disguising the purpose of this party at all . . . (ok,

   maybe a little bit)"), and another of which has been used at least four times to create the false

   perception that Krupa has consented or agreed to promote, advertise, market and/or endorse the

   Club's "Woman Crush Wednesday: Joanna Krupa is a hottie. Who is your #WCW [Woman

   Crush Wednesday]?" (emphasis added) to benefit Defendants' commercial interests.

          291.    Even after Krupa's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Krupa's demands.

          292.    Krupa's image, likeness and identity in Exhibit N are being used as advertising.

          293.    Krupa's image, likeness and identity in Exhibit N are being used on social media.

          294.    Krupa's image, likeness and identity in Exhibit N are tagged with "FCUK ME

   FRIDAY," "SDC.com," and "#swingersclub" and are being used for branding purposes.

          295.    Krupa's image, likeness and identity in Exhibit N have an additional use which

   includes identifying the internationally known star Krupa by name in Defendants'

   advertisements.




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          296.    Krupa has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          297.    Krupa has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          298.    Defendants never sought permission or authority to use or alter Krupa's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          299.    Krupa never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          300.    Defendants neither offered nor paid any remuneration to Krupa for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          301.    Defendants' use of Krupa's image, likeness and identity in connection with the

   Club's "swinger" events impugns Krupa's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          302.    Defendants’ use of Krupa’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Krupa endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.



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             303.   Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Krupa's images in their market activities and business. In

   doing so, Defendants have further damaged Krupa.

                                         Plaintiff Jordan Carver

             304.   Carver is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, host, actress and businesswoman with numerous accomplishments.

   Her career started with the launch of her own Facebook page in 2010 and her own website,

   www.jordancarver.com, posting fashion modeling photos Her business successes include a

   widely released "Yoga for Beginners" DVD and the launch of her very own YouTube channel

   after partnering with the world's largest television production company, Endemol, and featuring

   reality-style episodes uploaded regularly. Carver has also hosted the 2013 PBR Rock Bar's NYE

   Bash in Planet Hollywood Las Vegas. As a model and brand spokesperson, Carver won second

   place on the Top 100 Internet Model Newcomer of the Year, and has appeared on the cover of

   such magazines as Digital, Maxim, Like. She was also a commercial spokeswoman for online

   German consumer electronics giant Redcoon, and was the spokesmodel for Cobra racing sport

   seat production company, among others. As an actress, Ms.Carver appeared in the German-

   American comedy Who Killed Johnny, and participated for two years in the German reality show

   Wild Girls, ‘Auf High Heels durch Afrika’ ("Wild Girls - In High Heels Through Africa"), in

   which she along with other participants lived in the deserts of Namibia with the indigenous

   people.

             305.   Carver has four (4) million Facebook followers, one million Instagram followers

   and 172,500 Twitter followers.



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          306.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Carver negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          307.    Carver's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit O to the Complaint, which has been used at least three times and altered to

   create the false perception that Carver has consented or agreed to promote, advertise, market

   and/or endorse the Club, which referenced Carver by name, to wit: "wow, looks like Jordon

   Carver is ready for swim suit season!" to benefit Defendants' commercial interests.

          308.    Even after Carver's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Carver's demands.

          309.    Carver's image, likeness and identity in Exhibit O are being used as advertising.

          310.    Carver's image, likeness and identity in Exhibit O are being used on social media.

          311.    Carver's image, likeness and identity in Exhibit O have an additional use which

   includes identifying the internationally known star Carver by name in Defendants'

   advertisements.

          312.    Carver has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          313.    Carver has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          314.    Defendants never sought permission or authority to use or alter Carver's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.



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          315.    Carver never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          316.    Defendants neither offered nor paid any remuneration to Carver for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          317.    Defendants' use of Carver's image, likeness and identity in connection with the

   Club's "swinger" events impugns Carver's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          318.    Defendants’ use of Carver’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Carver endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          319.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Carver's images in their market activities and business. In

   doing so, Defendants have further damaged Carver.

                                    Plaintiff Katerina Van Derham

          320.    Van Derham is, and at all times relevant to this action was, a successful

   professional model, brand spokesperson, host, actress and businesswoman with numerous



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   accomplishments. Her business successes include being the Founder, CEO and Editor-in-Chief

   of VIVA GLAM, established in 2012, as a classic glamour lifestyle magazine. VIVA GLAM

   offers alternative approaches to traditional lifestyle, with a strong focus on vegan, organic and

   cruelty free brands. She has developed and manufactures a line of cruelty-free, 100% human

   hair eyelashes, Kat Lash. As a model and brand spokesperson, Van Derham has appeared on

   over 60 magazine covers world-wide and appeared in over 600 major media outlets including the

   Times Square Jumbotron, CNN, FOX, and NBC. She is the longest reigning St. Pauli Girl

   spokesmodel and, as the national spokesmodel, has appeared in hundreds of media outlets. As

   an actress and spokesmodel, Van Derham has appeared in 17 television commercials, had guest

   spots on Entourage, CSI and Monk, has appeared in the movies Redline, Unbelievable and 15

   Minutes Alone, and can be seen in music videos with Bobby Brown, Ja Rule, 50 Cent, Andy, and

   Big & Rich.

          321.     Van Derham is active, passionate and outspoken about charities, such SCIL (an

   animal care company), Peace4Animals and PETA.                    She has also worked with

   RedLightChildren.org to help end child slavery and exploitation, and has teamed up with Leah

   Remini, WorldVentures Foundation and the Nancy Lieberman Foundation on the DreamCourt

   project to build the first high quality basketball court at the Freeman E. Fairfield/Westside Boys

   & Girls Club.

          322.     In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Van Derham negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

          323.     Van Derham's image, likeness and identity are depicted in at least one

   photograph, enclosed as Exhibit P to the Complaint, which has been used at least twice and



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   altered to create the false perception that Van Derham has consented or agreed to promote,

   advertise, market and/or endorse the Club to benefit Defendants' commercial interests.

            324.   Even after Van Derham's objection outlined in the demand and cease/desist letter

   of October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images

   or otherwise respond to or comply with Van Derham's demands.

            325.   Van Derham's image, likeness and identity in Exhibit P are being used as

   advertising.

            326.   Van Derham's image, likeness and identity in Exhibit P are being used on social

   media.

            327.   Van Derham has never been employed by Defendants or contracted with

   Defendants to participate in events at the Club.

            328.   Van Derham has never been hired by Defendants or contracted with Defendants

   to advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            329.   Defendants never sought permission or authority to use or alter Van Derham's

   image, likeness or identity to advertise, promote, market or endorse Defendants' business, the

   Club, or any Club event.

            330.   Van Derham never gave permission, or assigned, licensed or otherwise consented

   to Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            331.   Defendants neither offered nor paid any remuneration to Van Derham for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            332.   Defendants' use of Van Derham's image, likeness and identity in connection with

   the Club's "swinger" events impugns Van Derham's character, embarrasses her, and suggests –



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   falsely – her support for and participation in such a lifestyle and, given the proximity to images

   of explicit, hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          333.    Defendants’ use of Van Derham’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Van Derham endorsed

   the Club and its swinger events, that she would attend Club events, and that members attending

   that same event could potentially engage in sexual activity with her.

          334.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Van Derham's images in their market activities and business.

   In doing so, Defendants have further damaged Van Derham.

                                         Plaintiff Kim Cozzens

          335.    Cozzens is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, host, and actress with numerous accomplishments. As a model and

   brand spokesperson, Cozzens has appeared in dozens of international commercials and

   campaigns. She was featured in an “Old Spice” commercial with a full speaking role that was

   one of the most highly sought after roles cast nationally.        Cozzens has been featured in

   Sketchers advertising, appeared in a worldwide New Amsterdam vodka campaign, was the

   spokesmodel for La Z Boy furniture galleries, was the spokesmodel for a Martini Rossi liquor

   campaign in which George Clooney appeared, and for Dodge automotive. The Martini Rossi

   liquor campaign featured Cozzens with George Clooney. Adweek rated the Dodge commercial



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   featuring Cozzens as one of the best of the year. Cozzens has also appeared on the cover of

   VIVA GLAM magazine, Rangoni magazine, in Maxim, and others.

            336.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Cozzens negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

            337.    Cozzens' image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit Q to the Complaint, which has been used at least four times and altered to

   create the false perception that Cozzens has consented or agreed to promote, advertise, market

   and/or endorse the Club's purple-themed event to benefit Defendants' commercial interests and

   included an obscene posting appearing to be attributed to Cozzens "I want to fuck so hard" and

   "Let's Party!"

            338.    Even after Cozzens' objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Cozzens' demands.

            339.    Cozzens' image, likeness and identity in Exhibit Q are being used as advertising.

            340.    Cozzens' image, likeness and identity in Exhibit Q are being used on social

   media.

            341.    Cozzens' image, likeness and identity in Exhibit Q are tagged with

   "#swingersclub" and are being used for branding purposes.

            342.    Cozzens' image, likeness and identity in Exhibit Q are additionally being used in

   a video by the Club.

            343.    Cozzens has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.



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          344.    Cozzens has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          345.    Defendants never sought permission or authority to use or alter Cozzens' image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          346.    Cozzens never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          347.    Defendants neither offered nor paid any remuneration to Cozzens for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          348.    Defendants' use of Cozzens' image, likeness and identity in connection with the

   Club's "swinger" events impugns Cozzens' character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          349.    Defendants’ use of Cozzen’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Cozzen endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          350.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to



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   further utilize and misappropriate Cozzens' images in their market activities and business. In

   doing so, Defendants have further damaged Cozzens.

                                   Plaintiff Laurie Fetter (Jacobs)

          351.    Fetter is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson and actress with numerous accomplishments. As a model, Fetter was

   Playboy "Playmate of the Month" and also appeared in Maxim, FHM, and Vanity Fair

   magazines. Fetter also was a brand spokesperson for Kohl's, Macy's, McDonalds, Sunglass Hut,

   and Leg Avenue. As an actress, Fetter appeared in the indie thriller "Hitters," has appeared on

   CSI, and had a starring role in the movie "A Guy Named Rick" where she played God's wife.

          352.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Fetter negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          353.    Fetter’s image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit R to the Complaint, which has been used at least three times and altered to

   create the false perception that Fetter has consented or agreed to promote, advertise, market

   and/or endorse the Club's "hot fairy tale princess" themed event to benefit Defendants'

   commercial interests.

          354.    Even after Fetter’s objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Fetter’s demands.

          355.    Fetter’s image, likeness and identity in Exhibit R are being used as advertising.

          356.    Fetter’s image, likeness and identity in Exhibit R are being used on social media.




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          357.    Fetter’s image, likeness and identity in Exhibit R are tagged with

   "#swingersparty" and are being used for branding purposes.

          358.    Fetter has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          359.    Fetter has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          360.    Defendants never sought permission or authority to use or alter Fetter’s image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          361.    Fetter never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          362.    Defendants neither offered nor paid any remuneration to Fetter for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          363.    Defendants' use of Fetter’s image, likeness and identity in connection with the

   Club's "swinger" events impugns Fetter’s character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          364.    Defendants’ use of Fetter’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Fetter endorsed the



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   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          365.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Fetter’s images in their market activities and business. In

   doing so, Defendants have further damaged Fetter.

                                         Plaintiff Lina Posada

          366.    Posada is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson and fashion designer with numerous accomplishments. As a model

   and brand spokesperson, Posada is the face of the lingerie brands Besame and Espiral. She has

   also appeared in advertisements for Babalu' Swimwear, JSN, UJeans, T.T. Blues, Irgus

   Swimwear, and Paradizia.

          367.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Posada negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          368.    Posada’s image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit S to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Posada has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Happy Halloween" event, and another of which was used at

   least twice and similarly altered to create the false perception that Posada has consented or

   agreed to promote, advertise, market and/or endorse the Club's "Black and White" party to

   benefit Defendants' commercial interests.




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            369.   Even after Posada’s objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Posada’s demands.

            370.   Posada’s image, likeness and identity in Exhibit S are being used as advertising.

            371.   Posada’s image, likeness and identity in Exhibit S are being used on social

   media.

            372.   Posada’s image, likeness and identity in Exhibit S are tagged with "Youngest

   Swingers Club" and are being used for branding purposes.

            373.   Posada has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

            374.   Posada has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            375.   Defendants never sought permission or authority to use or alter Posada’s image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            376.   Posada never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            377.   Defendants neither offered nor paid any remuneration to Posada for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            378.   Defendants' use of Posada's image, likeness and identity in connection with the

   Club's "swinger" events impugns Posada's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,



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   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          379.    Defendants’ use of Posada’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Posada endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          380.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Posada’s images in their market activities and business. In

   doing so, Defendants have further damaged Posada.

                                       Plaintiff Maria Zyrianova

          381.    Zyrianova is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, actress and stand-up comedian with numerous accomplishments. As

   a model and brand spokesperson, Zyrianova has been featured in countless advertising and

   editorial bookings, including Vogue, Elle and Cosmopolitan magazines, as well as national

   advertising campaign for L’Oreal, Avon, Coca-Cola and Samsung. Zyrianova was also chosen

   to be the face of and represent Ardell Lashes in an international beauty campaign. Zyrianova has

   been featured in a national television advertising campaign for Progressive insurance. As an

   actress and stand-up comedian, Zyrianova has made guest appearances on HBO’s Entourage,

   STARZ Party Down, SHOWTIME’s Dexter, FX’s Always Sunny In Philadelphia, ABC

   FAMILY’s Baby Daddy and on the primetime networks hit Two and a Half Men and NCIS: Los



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   Angeles. Zyrianova played “Masha” in 3 SISTERS by Chekov, the role of “Nastasya” in IDIOT

   by Dostoevsky, and regularly performs stand-up comedy at Los Angeles’ premier comedy

   venues such as Hollywood’s famous Comedy Store.

            382.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Zyrianova negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

            383.   Zyrianova's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit T to the Complaint, which has been used at least four times and altered to

   create the false perception that Zyrianova has consented or agreed to promote, advertise, market

   and/or endorse the Club's "Sex Therapy Friday" event to benefit Defendants' commercial

   interests.

            384.   Even after Zyrianova's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Zyrianova's demands.

            385.   Zyrianova's image, likeness and identity in Exhibit T are being used as

   advertising.

            386.   Zyrianova's image, likeness and identity in Exhibit T are being used on social

   media.

            387.   Zyrianova's image, likeness and identity in Exhibit T are tagged with "Sex

   Therapy Friday" and "best place to start your sex fund this weekend" and are being used for

   branding purposes.

            388.   Zyrianova has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.



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          389.    Zyrianova has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          390.    Defendants never sought permission or authority to use or alter Zyrianova's

   image, likeness or identity to advertise, promote, market or endorse Defendants' business, the

   Club, or any Club event.

          391.    Zyrianova never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          392.    Defendants neither offered nor paid any remuneration to Zyrianova for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          393.    Defendants' use of Zyrianova's image, likeness and identity in connection with the

   Club's "swinger" events impugns Zyrianova's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          394.    Defendants’ use of Zyrianova’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Zyrianova endorsed

   the Club and its swinger events, that she would attend Club events, and that members attending

   that same event could potentially engage in sexual activity with her.

          395.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to



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   further utilize and misappropriate Zyrianova's images in their market activities and business. In

   doing so, Defendants have further damaged Zyrianova.

                                      Plaintiff Marketa Kazdova

          396.    Kazdova is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson and actress with numerous accomplishments. As a model and brand

   spokesperson, Kazdova has appeared in magazines such as Elle, Style, Cosmo Girl, Dolce Vita,

   Nylon, Prestige Paris, Fiasco, Composure, Formen, Modern Salon, Viva Glam and many others.

   Kazdova has also appeared in advertisements and promotional material for Nordstrom, Macy's,

   Tadashi Shoji, Nike, Anthony Franco, Alicia Estrada, Mirabella beauty, MAC, Level 99,

   Dreamgirl lingerie, Erka Mare Swimwear, House of Pink Lemonaid Swimwear, Hautelook and

   Patagonia.    Most recently, Kazdova has appeared on billboards in a national advertising

   campaign for Mello Yello.       Kazdova also has appeared in commercials for McDonalds'

   McFlurry for worldwide use, as well as Soysh. As an actress, she has appeared in a number of

   music videos and worked with stars such as Kanye West and Jay Z.

          397.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Kazdova negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

          398.    Kazdova's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit U to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Kazdova has consented or agreed to promote, advertise,

   market and/or endorse the Club's activities, and another of which has been used at least four

   times and similarly altered to create the false perception that Kazdova has consented or agreed to




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   promote, advertise, market and/or endorse the Club's "Fantastic 80's" event to benefit

   Defendants' commercial interests.

            399.   Even after Kazdova's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Kazdova's demands.

            400.   Kazdova's image, likeness and identity in Exhibit U are being used as

   advertising.

            401.   Kazdova's image, likeness and identity in Exhibit U are being used on social

   media.

            402.   Kazdova's image, likeness and identity in Exhibit U are tagged with "Now THIS

   is what I call a cleaning service!", "#swingers," "#swingersclub," and "Youngest Swingers Club"

   and are being used for branding purposes.

            403.   Kazdova's image, likeness and identity in Exhibit U are being used as a

   "coupon", offering new members "Free one month membership."

            404.   Kazdova has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.

            405.   Kazdova has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            406.   Defendants never sought permission or authority to use or alter Kazdova's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.




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          407.    Kazdova never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          408.    Defendants neither offered nor paid any remuneration to Kazdova for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          409.    Defendants' use of Kazdova's image, likeness and identity in connection with the

   Club's "swinger" events impugns Kazdova's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          410.    Defendants’ use of Kazdova’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Kazdova endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          411.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Kazdova's images in their market activities and business. In

   doing so, Defendants have further damaged Kazdova.

                                         Plaintiff Masha Lund

          412.    Lund is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson and actress with numerous accomplishments. As a model and brand



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   spokesperson, Lund appeared in a national billboard campaign for Rockstar Energy Drink, Ikeka,

   and E-Trade Denmark. She has appeared on the covers of such magazines as FHM, Maxim,

   Ralph, Dreamgirl, Gear, Exposed and the popular Danish magazine M!, and appeared in national

   commercials for Corona, Rolling Rock Beer, and Saturn. Lund is also the spokesperson for the

   "Dreamgirl" lingerie line and Celebrity jewelry line "Nialaya." As an actress, Lund has appeared

   in popular films such as "The Pick of Destiny" with Jack Black and "Epic Movie" with Carmen

   Electra. She has appeared in music videos with Lady Gaga, Beyoncé, Eminem and D12, has

   appeared on E!, Jay Leno, Spike TV, Jimmy Kimmel Live, The Late Late Show, and is one of

   the stars on a popular European Reality Show "Danske Hollywood Fruer." She has a business

   degree and is fluent in three languages.

          413.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Lund negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          414.    Lund's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit V to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Lund has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Sexy Week at the Office" event, and another of which has

   been used at least four times and similarly altered to create the false perception that Lund has

   consented or agreed to promote, advertise, market and/or endorse the Club's "Oktoberfest: Boobs

   & Beer Jugs" event to benefit Defendants' commercial interests.

          415.    Even after Lund's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Lund's demands.



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          416.    Lund's image, likeness and identity in Exhibit V are being used as advertising.

          417.    Lund's image, likeness and identity in Exhibit V are being used on social media.

          418.    Lund's image, likeness and identity in Exhibit V are tagged with "Let it be a sexy

   week at the office," "#swingersclub," "Boobs & Beer Jugs," and "SDC.com" and are being used

   for branding purposes.

          419.    Lund has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          420.    Lund has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          421.    Defendants never sought permission or authority to use or alter Lund's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          422.    Lund never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          423.    Defendants neither offered nor paid any remuneration to Lund for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          424.    Defendants' use of Lund's image, likeness and identity in connection with the

   Club's "swinger" events impugns Lund's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.




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          425.    Defendants’ use of Lund’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Lund endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          426.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Lund's images in their market activities and business. In doing

   so, Defendants have further damaged Lund.

                                         Plaintiff Maysa Quy

          427.    Quy is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, pro body builder, ring girl, martial artist, fitness trainer and

   nutritionist with numerous accomplishments. As a model and brand spokesperson, Quy modeled

   and appeared in numerous magazines, catalogues and advertising campaigns for national and

   international brands including Sketchers Shoes, Benefit Cosmetics, CoverFX cosmetics,

   Dreamgirl International Lingerie, Mini Cooper USA, T-Mobile, Apple, Nike, Microsoft, and

   David’s Bridal. Quy was a presenter at the People's Choice Awards and was a Strike Force/Ring

   Card Model. She was also a featured performer in the National Microsoft "Stay Connected"

   television commercial.

          428.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Quy negotiated and expressly granted authority for such use pursuant to

   agreed-upon terms and conditions and for agreed-upon compensation.



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          429.    Quy's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit W to the Complaint, which has been used at least three times and altered to

   create the false perception that Quy has consented or agreed to promote, advertise, market and/or

   endorse the Club's "Annual White Party" event to benefit Defendants' commercial interests.

          430.    Even after Quy's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Quy's demands.

          431.    Quy's image, likeness and identity in Exhibit W are being used as advertising.

          432.    Quy's image, likeness and identity in Exhibit W are being used on social media.

          433.    Quy's image, likeness and identity in Exhibit W are tagged with "wear your

   sexiest white outfit" and are being used for branding purposes.

          434.    Quy has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          435.    Quy has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          436.    Defendants never sought permission or authority to use or alter Quy's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          437.    Quy never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          438.    Defendants neither offered nor paid any remuneration to Quy for the unauthorized

   use and self-serving alteration of her image, likeness or identity.



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          439.    Defendants' use of Quy's image, likeness and identity in connection with the

   Club's "swinger" events impugns Quy's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          440.    Defendants’ use of Quy’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Quy endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          441.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Quy's images in their market activities and business. In doing

   so, Defendants have further damaged Quy.

                                         Plaintiff Paola Canas

          442.    Canas is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, host and actress with numerous accomplishments. As a model and

   brand spokesperson, Canas worked for international brands and labels such as, Soho, Kiss

   Underwear, Salon International, Zona Rosa and Esteban Escobar. Canas has also has worked

   runway shows in her native Colombia, Mexico, the United States, Ecuador and Paris, France.

   Canas was a contracted model for Curve and their worldwide lingerie line and features in

   Curve’s international ad campaign. In Dubai, Canas was chosen as the face of the Masters Golf



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   tournament. In Orlando, Florida, she was the face for the “International Surf and Sport Expo."

   Canas has appeared on FOX Sports, Telemundo and TV Azteca.

          443.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Canas negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          444.   Canas' image, likeness and identity are depicted in at least five photographs,

   enclosed as Exhibit X to the Complaint, one of which has been used at least two times and

   altered to create the false perception that Canas has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Black & White" event, another of which was used at least four

   times and similarly altered to create the false perception that Canas has consented or agreed to

   promote, advertise, market and/or endorse the Club's "Ultimate Couples Only Experience in

   BLUE" event, another of which was used at least four times and similarly altered to create the

   false perception that Canas has consented or agreed to promote, advertise, market and/or endorse

   the Club's "SEXY in blue" event, another of which was used at least three times and similarly

   altered to create the false perception that Canas has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Libra Party," and a fifth of which was used at least four times

   and similarly altered to create the false perception that Canas has consented or agreed to

   promote, advertise, market and/or endorse the Club's "SEXY in blue" event to benefit

   Defendants' commercial interests.

          445.   Even after Canas' objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Canas' demands.

          446.   Canas' image, likeness and identity in Exhibit X are being used as advertising.



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          447.    Canas' image, likeness and identity in Exhibit X are being used on social media.

          448.    Canas' image, likeness and identity in Exhibit X are tagged with

   "members.miamivelvet," "Yorkies.com," "The ultimate Couples Only experience in Blue

   Tonight," "#swingersclub", and "We are getting SEXY in blue," and are being used for branding

   purposes.

          449.    Canas' image, likeness and identity in Exhibit X are being used as a "coupon"

   offering "Prepay and Save" and "Anyone born under the sign of Libra Free Entry. . . ."

          450.    Canas' image, likeness and identity in Exhibit X are being used for an additional

   purpose in a video and flipagram.

          451.    Canas has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          452.    Canas has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          453.    Defendants never sought permission or authority to use or alter Canas' image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          454.    Canas never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          455.    Defendants neither offered nor paid any remuneration to Canas' for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          456.    Defendants' use of Canas' image, likeness and identity in connection with the

   Club's "swinger" events impugns Canas' character, embarrasses her, and suggests – falsely – her



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   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          457.    Defendants’ use of Canas’ image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Canas endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          458.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Canas' images in their market activities and business. In doing

   so, Defendants have further damaged Canas.

                                  Plaintiff Rachel Bernstein (Koren)

          459.     Bernstein is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, actress and businesswoman with numerous accomplishments. As a

   model and brand spokesperson, Bernstein has walked runways for fashion shows in Miami's

   "Mercedes Benz Fashion Week," and has been featured in The Midori Campaign in both print

   and billboards. Bernstein has appeared in such magazines as Esquire, Vogue, Modern Salon,

   Kandy, Vibra, Launch Pad, Cut & Dry, Hairdo, Rebel X, Maxim, Viva Glam, and Swim.

   Bernstein has modeled brands by Nike, Reebok, Affliction Clothing, Volcom, Body Glove,

   Sinful, American Customs, Alo, No Fear, Axe Body Spray, Skinit, Paul Mitchell, Styleget,

   Bijoli, Sunset Tan, Divine Boutique, True Religion, Jessica Simpson Swimwear, Ed Hardy,



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   Christian Audigier, Smet, SNI Swimwear Calendars, Tommy Bahama, Sunsets Inc, B Swim,

   Love Culture, Fantasy Lingerie, Elegant Moments, So Cal Swimwear, No Fear, American Honey

   and Have Faith Swimwear. Bernstein's other business ventures include being a part owner of

   Cashmere hair products. She has appeared on television shows such as Shark Tank.

            460.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Bernstein negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

            461.   Bernstein's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit Y to the Complaint, which has been used at least four times and altered to

   create the false perception that Bernstein has consented or agreed to promote, advertise, market

   and/or endorse the Club's "Black OR White" event to benefit Defendants' commercial interests.

            462.   Even after Bernstein's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Bernstein's demands.

            463.   Bernstein's image, likeness and identity in Exhibit Y are being used as

   advertising.

            464.   Bernstein's image, likeness and identity in Exhibit Y are being used on social

   media.

            465.   Bernstein's image, likeness and identity in Exhibit Y are tagged with

   "#swingersclub" and are being used for branding purposes.

            466.   Bernstein's image, likeness and identity in Exhibit Y are being used as a

   ""coupon"" offering new members "FREE ONE MONTH MEMBERSHIP."




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          467.    Bernstein has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.

          468.    Bernstein has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          469.    Defendants never sought permission or authority to use or alter Bernstein's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

          470.    Bernstein never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          471.    Defendants neither offered nor paid any remuneration to Bernstein for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          472.    Defendants' use of Bernstein's image, likeness and identity in connection with the

   Club's "swinger" events impugns Bernstein's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          473.    Defendants’ use of Bernstein’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Bernstein endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.



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           474.   Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Bernstein's images in their market activities and business. In

   doing so, Defendants have further damaged Bernstein.

                                       Plaintiff Sandra Valencia

           475.   Valencia is, and at all times relevant to this action was, a successful professional

   model with numerous accomplishments. She is regarded as one of the top models in her home

   country of Colombia.     Valencia has modeled in Ecuador, Peru, The Dominican Republic,

   Mexico and Venezuela. She has worked with clients such as Diesel, Americanino, Leonisa,

   Chevignon, and Onde de Mar, and is the contract face of BESAME lingerie.

           476.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Valencia negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

           477.   Valencia's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit Z to the Complaint, one of which has been used at least four times and

   altered to create the false perception that Valencia has consented or agreed to promote, advertise,

   market and/or endorse the Club's upcoming event, and the other of which has been used at least

   three times and altered to create the false perception that Valencia has consented or agreed to

   promote, advertise, market and/or endorse the Club generally to benefit Defendants' commercial

   interests.

           478.   Even after Valencia's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Valencia's demands.



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            479.   Valencia's image, likeness and identity in Exhibit Z are being used as advertising.

            480.   Valencia's image, likeness and identity in Exhibit Z are being used on social

   media.

            481.   Valencia's image, likeness and identity in Exhibit Z are tagged with "Youngest

   Swingers Club . . . " and "Some sweet booty" and are being used for branding purposes.

            482.   Valencia's image, likeness and identity in Exhibit Z are being used as a "coupon"

   offering new members "FREE ONE MONTH MEMBERSHIP."

            483.   Valencia has never been employed by Defendants or contracted with Defendants

   to participate in events at the Club.

            484.   Valencia has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            485.   Defendants never sought permission or authority to use or alter Valencia's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            486.   Valencia never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            487.   Defendants neither offered nor paid any remuneration to Valencia for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            488.   Defendants' use of Valencia's image, likeness and identity in connection with the

   Club's "swinger" events impugns Valencia's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,




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   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          489.    Defendants’ use of Valencia’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Valencia endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          490.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Valencia's images in their market activities and business. In

   doing so, Defendants have further damaged Valencia.

                                       Plaintiff Sara Underwood

          491.    Underwood is, and at all times relevant to this action was, a successful

   professional model, actress, television personality, host and spokeswoman with numerous

   accomplishments. As a model, Underwood was featured in Playboy's "Girls of the Pac-10," was

   a Playboy "Playmate of the Month," and Playboy "Playmate of the Year." As an actress,

   Underwood worked as a "fight jock" announcer for the Blackbelt TV cable network, she co-

   hosted G4's Attack of the Show, has hosted The Feed, and has starred in numerous commercials.

          492.    Underwood has more than one million Instagram followers.

          493.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Underwood negotiated and expressly granted authority for such use

   pursuant to agreed-upon terms and conditions and for agreed-upon compensation.



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            494.   Underwood's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit AA to the Complaint, which has been used at least three times and was

   altered to create the false perception that Underwood has consented or agreed to promote,

   advertise, market and/or endorse the Club's Birthday Bash to benefit Defendants' commercial

   interests.

            495.   Even after Underwood's objection outlined in the demand and cease/desist letter

   of October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images

   or otherwise respond to or comply with Underwood's demands.

            496.   Underwood's image, likeness and identity in Exhibit AA are being used as

   advertising.

            497.   Underwood's image, likeness and identity in Exhibit AA are being used on social

   media.

            498.   Underwood's image, likeness and identity in Exhibit AA are tagged with "don't

   miss this sexy night!" and are being used for branding purposes.

            499.   Underwood has never been employed by Defendants or contracted with

   Defendants to participate in events at the Club.

            500.   Underwood has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            501.   Defendants never sought permission or authority to use or alter Underwood's

   image, likeness or identity to advertise, promote, market or endorse Defendants' business, the

   Club, or any Club event.




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          502.    Underwood never gave permission, or assigned, licensed or otherwise consented

   to Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          503.    Defendants neither offered nor paid any remuneration to Underwood for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          504.    Defendants' use of Underwood's image, likeness and identity in connection with

   the Club's "swinger" events impugns Underwood's character, embarrasses her, and suggests –

   falsely – her support for and participation in such a lifestyle and, given the proximity to images

   of explicit, hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          505.    Defendants’ use of Underwood’s image was for the sole purpose of increasing

   Miami Velvet’s membership numbers by enticing patrons here in Florida and across the country

   to purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Underwood endorsed

   the Club and its swinger events, that she would attend Club events, and that members attending

   that same event could potentially engage in sexual activity with her.

          506.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Underwood's images in their market activities and business. In

   doing so, Defendants have further damaged Underwood.

                                         Plaintiff Tiffany Toth

          507.    Toth is, and at all times relevant to this action was, a successful professional

   model with numerous accomplishments. As a model, Toth has been a Playboy "Playmate of the



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   Month," a Playboy "Cyber Girl of the Week" and Playboy "Cyber Girl of the Month." She has

   also been featured in such magazines as Maxim, Super Street Bike, Import Tuner, Sport Truck,

   Iron Man, and Seventeen.

          508.    Toth has more than 370,000 Instagram followers, over one million Facebook

   followers, and is paid for social media product endorsements.

          509.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Toth negotiated and expressly granted authority for such use pursuant to

   agreed-upon terms and conditions and for agreed-upon compensation.

          510.    Toth's image, likeness and identity are depicted in at least three photographs,

   enclosed as Exhibit BB to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Toth has consented or agreed to promote, advertise,

   market and/or endorse the Club's wild animal print-themed event, a second of which has been

   used at least three times and was similarly altered to create the false perception that Toth has

   consented or agreed to promote, advertise, market and/or endorse the Club's "Unicorn Party,"

   and a third of which has been used at least twice and was similarly altered to create the false

   perception that Toth has consented or agreed to promote, advertise, market and/or endorse the

   Club's "Corset & Heels" event, to benefit Defendants' commercial interests.

          511.    Even after Toth's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Toth's demands.

          512.    Toth's image, likeness and identity in Exhibit BB are being used as advertising.

          513.    Toth's image, likeness and identity in Exhibit BB are being used on social media.




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          514.    Toth's image, likeness and identity in Exhibit BB are tagged with

   "#swingersClub" and "SDC.com" and are being used for branding purposes.

          515.    Toth has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

          516.    Toth has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          517.    Defendants never sought permission or authority to use or alter Toth's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club or

   any Club event.

          518.    Toth never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          519.    Defendants neither offered nor paid any remuneration to Toth for the

   unauthorized use or self-serving alteration of her image, likeness or identity.

          520.    Defendants' use of Toth's image, likeness and identity in connection with the

   Club's "swinger" events impugns Toth's character, embarrasses her, and suggests – falsely – her

   support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          521.    Defendants’ use of Toth’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Toth endorsed the



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   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          522.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Toth's images in their market activities and business. In doing

   so, Defendants have further damaged Toth.

                                        Plaintiff Vivian Kindle

          523.    Kindle is, and at all times relevant to this action was, a successful professional

   model and actress with numerous accomplishments. As a model, Kindle published in such

   magazines such as Maxim, FHM, American Curves, Push, Esquire, GQ, and World Physique.

   As an actress, Kindle appeared as the teacher "Mrs. Johnson" in the movie "School Dance,"

   written, produced and directed by Nick Cannon. She also appeared on MTV2 as an official

   Wild’N’Out girl for season 5-7 and had a recurring role on the CBS soap opera "The Bold &

   Beautiful."

          524.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Kindle negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

          525.    Kindle's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit CC to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Kindle has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Fill 'er up" event, and a second of which has been used at least

   three times and was similarly altered to create the false perception that Kindle has consented or




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   agreed to promote, advertise, market and/or endorse the Club's "Cocktail Party" with SDC

   [Swingers Date Club], to benefit Defendants' commercial interests.

            526.   Even after Kindle's objection outlined in the demand and cease/desist letter of

   October 16, 2015 (Exhibit A), Defendants failed and refused to remove the offending images or

   otherwise respond to or comply with Kindle's demands.

            527.   Kindle's image, likeness and identity in Exhibit CC are being used as advertising.

            528.   Kindle's image, likeness and identity in Exhibit CC are being used on social

   media.

            529.   Kindle's image, likeness and identity in Exhibit CC are tagged with

   "#swingersClub" and "SDC" and are being used for branding purposes.

            530.   Kindle has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

            531.   Kindle has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            532.   Defendants never sought permission or authority to use or alter Kindle's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club or

   any Club event.

            533.   Kindle never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            534.   Defendants neither offered nor paid any remuneration to Kindle for the

   unauthorized use or self-serving alteration of her image, likeness or identity.




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          535.    Defendants' use of Kindle's image, likeness and identity in connection with the

   Club's "swinger" events impugns Kindle's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          536.    Defendants’ use of Kindle’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Kindle endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          537.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Kindle's images in their market activities and business. In

   doing so, Defendants have further damaged Kindle.

                                       Plaintiff Melanie Iglesias

          538.    Iglesias is, and at all times relevant to this action was, a successful professional

   model, host and actress with numerous accomplishments.             As a model, Iglelsias has been

   featured in such magazines as Maxim, World's Most Beautiful, Esquire, and Vibe. As a host and

   actress, Iglesias has hosted the MLB Fan Cave, has appeared in the World Poker Tour series, has

   appeared as herself on all seasons of MTV's Guy Code and Girl Code, as well as the spin-off

   series Guy Court, and as a guest on the Ellen DeGeneres show. Iglesias also has a starring role

   in the feature film "Abnormal Attraction" set to be released in 2016.



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            539.   Iglesias has more nearly four million follows on Instagram, Facebook and Twitter

   combined.

            540.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Iglesias negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

            541.   Iglesias' image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit DD to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Iglesias has consented or agreed to promote, advertise,

   market and/or endorse the Club's 2013 "Noche Latina" event and explicitly attributing Iglesias'

   name to the image and attribution, and a second of which has been used at least four times and

   was similarly altered to create the false perception that Iglesias has consented or agreed to

   promote, advertise, market and/or endorse the Club's 2014 "Noche Latina" event to benefit

   Defendants' commercial interests.

            542.   Iglesias' image, likeness and identity in Exhibit DD are being used as advertising.

            543.   Iglesias' image, likeness and identity in Exhibit DD are being used on social

   media.

            544.   Iglesias' image, likeness and identity in Exhibit DD are tagged with Iglesias'

   name and attribution as well as "Youngest Swingers Club on the East Coast" and are being used

   for branding purposes.

            545.   Iglesias' image, likeness and identity in Exhibit DD are being used as a "coupon"

   offering "Free one month membership when you mention #instaswing at the door."

            546.   Iglesias has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.



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          547.    Iglesias has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

          548.    Defendants never sought permission or authority to use or alter Iglesias' image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club or

   any Club event.

          549.    Iglesias' never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

          550.    Defendants neither offered nor paid any remuneration to Iglesias' for the

   unauthorized use or self-serving alteration of her image, likeness or identity.

          551.    Defendants' use of Iglesias' image, likeness and identity in connection with the

   Club's "swinger" events impugns Iglesias' character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          552.    Defendants’ use of Iglesias’ image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Iglesias endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her.

          553.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to



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   further utilize and misappropriate Iglesias' images in their market activities and business. In

   doing so, Defendants have further damaged Iglesias.

                                      Plaintiff Brenda Lynn Geiger

            554.    Geiger is, and at all times relevant to this action was, a successful professional

   model, television personality, and actress with numerous accomplishments. As a model, Geiger

   has been featured in numerous magazines such as Show, Maxim, Glamour, and Raw, as well as

   product and brand campaigns such as Primitive Clothing. Geiger has also appeared on the

   Howard Stern Show in a "Miss HTV" contest and in music videos including Keri Hilton's video

   "Ms. Officer."

            555.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Geiger negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

            556.    Geiger's image, likeness and identity are depicted in at least two photographs,

   enclosed as Exhibit EE to the Complaint, one of which has been used at least three times and

   altered to create the false perception that Geiger has consented or agreed to promote, advertise,

   market and/or endorse the Club's "Girls Night Out" event, and a second of which has been used

   at least three times and similarly altered to create the false perception that Geiger has consented

   or agreed to promote, advertise, market and/or endorse the Club's prior year "Girls Night Out"

   event, to benefit Defendants' commercial interests.

            557.    Geiger's image, likeness and identity in Exhibit EE are being used as advertising.

            558.    Geiger's image, likeness and identity in Exhibit EE are being used on social

   media.




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           559.    Geiger's image, likeness and identity in Exhibit EE are tagged with "Sex Drive"

   and "experience the lifestyle at it's finest" and are being used for branding purposes.

           560.    Geiger's image, likeness and identity in Exhibit EE are being used as a "coupon"

   offering "Single ladies in free all night."

           561.    Geiger has never been employed by Defendants or contracted with Defendants to

   participate in events at the Club.

           562.    Geiger has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

           563.    Defendants never sought permission or authority to use or alter Geiger's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

           564.    Geiger never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club, or any Club event.

           565.    Defendants neither offered nor paid any remuneration to Geiger for the

   unauthorized use or self-serving alteration of her image, likeness or identity.

           566.    Defendants' use of Geiger's image, likeness and identity in connection with the

   Club's "swinger" events impugns Geiger's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

           567.    Defendants’ use of Geiger’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to



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   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Geiger endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her

          568.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Geiger's images in their market activities and business. In

   doing so, Defendants have further damaged Geiger.

                                     Plaintiff Heather Rae Young

          569.    Young is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, businesswoman and actress with numerous accomplishments.

   Young's business successes have been in real estate.        As a model, Young was a Playboy

   "Playmate of the Month." She has also appeared in countless swimwear, lingerie, and fashion

   catalogs such as Super Star Swimwear, Calao Swimwear, Carrie Amber Lingerie, Trashy

   Lingerie, 7 Till Midnight, Foreplay, and Affliction Clothing Campaign. Young has also been

   featured in numerous car and motorcycle enthusiast magazine features and covers such as Import

   Tuner, Hot Rod Deluxe, Super Street Bike, Low Rider and Sport Truck. As a brand spokesperson

   and actress, Young has appeared in commercials for KIA Motors, Shake Weight, and Blue

   Mountain State, as well as television shows such as Entourage, The Tonight Show w/ Jay Leno,

   and Til Death, and in the movie trailer for Mafia.

          570.    In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Young negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.



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            571.   Young's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit FF to the Complaint, which has been used at least three times and altered to

   create the false perception that Young has consented or agreed to promote, advertise, market

   and/or endorse the Club's "wild" animal print themed party to benefit Defendants' commercial

   interests.

            572.   Young's image, likeness and identity in Exhibit FF are being used as advertising.

            573.   Young's image, likeness and identity in Exhibit FF are being used on social

   media.

            574.   Young's image, likeness and identity in Exhibit FF are tagged with "#swingers"

   and "#swingersclub" and are being used for branding purposes.

            575.   Young has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            576.   Defendants never sought permission or authority to use or alter Young's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            577.   Young never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.

            578.   Defendants neither offered nor paid any remuneration to Young for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

            579.   Defendants' use of Young's image, likeness and identity in connection with the

   Club's "swinger" events impugns Young's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,



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   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          580.    Defendants’ use of Young’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Young endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her

          581.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Young's images in their market activities and business. In

   doing so, Defendants have further damaged Young.

                                         Plaintiff Rosa Acosta

          582.    Acosta is, and at all times relevant to this action was, a successful professional

   model, brand spokesperson, actress, and classical ballet dancer with numerous accomplishments.

   Acosta's classical ballet training from the age of four in the Dominican Republic through

   graduating with honors from the ICA and Ballet School of Norma Garcia led her to became the

   youngest soloist member of the Dominican Nacional Ballet in 2002. As a model, Acosta has

   appeared in magazines such as Show, King, Black Lingerie, and Maxim.             Acosta has also

   appeared on numerous radio and television programs, commercials, and music videos. As s

   brand spokesperson, Acosta was the face of Nine5 Eyewear and was featured in Supreme

   Magazine.




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            583.   Acosta has over two million Facebook followers, nearly one million Instagram

   followers, and more than 300,000 Twitter subscribers.

            584.   In all instances of commercial marketing and promotion of her image, likeness or

   identity by third parties, Acosta negotiated and expressly granted authority for such use pursuant

   to agreed-upon terms and conditions and for agreed-upon compensation.

            585.   Acosta's image, likeness and identity are depicted in at least one photograph,

   enclosed as Exhibit GG to the Complaint, which has been used at least three times and altered to

   create the false perception that Acosta has consented or agreed to promote, advertise, market

   and/or endorse the Club's "Noche Latina" event to benefit Defendants' commercial interests.

            586.   Acosta's image, likeness and identity in Exhibit GG are being used as

   advertising.

            587.   Acosta's image, likeness and identity in Exhibit GG are being used on social

   media.

            588.   Acosta's image, likeness and identity in Exhibit GG are tagged with "hottest

   Spanish beats" and are being used for branding purposes.

            589.   Acosta has never been hired by Defendants or contracted with Defendants to

   advertise, promote, market or endorse Defendants' business, the Club or any Club event.

            590.   Defendants never sought permission or authority to use or alter Acosta's image,

   likeness or identity to advertise, promote, market or endorse Defendants' business, the Club, or

   any Club event.

            591.   Acosta never gave permission, or assigned, licensed or otherwise consented to

   Defendants using or altering her image, likeness or identity to advertise, promote, market or

   endorse Defendants' business, the Club or any Club event.



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          592.    Defendants neither offered nor paid any remuneration to Acosta for the

   unauthorized use and self-serving alteration of her image, likeness or identity.

          593.    Defendants' use of Acosta's image, likeness and identity in connection with the

   Club's "swinger" events impugns Acosta's character, embarrasses her, and suggests – falsely –

   her support for and participation in such a lifestyle and, given the proximity to images of explicit,

   hardcore pornography on Miami Velvet's social media sites, is intended to imply her

   participation in the explicit, hardcore pornography industry.

          594.    Defendants’ use of Acosta’s image was for the sole purpose of increasing Miami

   Velvet’s membership numbers by enticing patrons here in Florida and across the country to

   purchase online memberships or visit the Club and purchase memberships so that they could

   attend events advertised in interstate commerce that falsely suggested that Acosta endorsed the

   Club and its swinger events, that she would attend Club events, and that members attending that

   same event could potentially engage in sexual activity with her

          595.    Upon information and belief, Defendants' improper use and alteration of the

   images described herein permitted, encouraged, or facilitated other persons, firms, and entities to

   further utilize and misappropriate Acosta's images in their market activities and business. In

   doing so, Defendants have further damaged Acosta.

   C. Defendants Ignored Plaintiffs' Demand Letter that Directed Defendants to Cease and
      Desist Unauthorized Use of Plaintiffs' Images and Notified Defendants of the Potential
      Claims Should Defendants Fail or Refuse to Comply

          596.    As referenced and discussed above, on October 16, 2015 Plaintiffs, through

   counsel, sent Defendants a demand and cease/desist letter ( the "Demand Letter").

          597.    The Demand Letter provided Defendants with notice of their wrongful actions

   and demanded that Defendants immediately "cease and desist any further use of the Models'



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   Image(s) . . . ." (Exhibit A, at 15). Appended to the Demand Letter was a "Preliminary Expert

   Report Regarding Image Infringement by Velvet Lifestyles LLC., d/b/a Miami Velvet, and My

   Three Yorkies LLC" which provided illustrative examples of the offending images.

          598.    The Demand Letter further demanded that "Miami Velvet and Yorkies provide

   written disclaimers of its misuse and written acknowledgement of its intention to permanently

   comply with this cease and desist demand." Id.

          599.    The Demand Letter further demanded that "Miami Velvet and Yorkies

   immediately remove any and all unauthorized images from a Defendants’-owned, hosted,

   controlled or contributed website as well as any social media outlet (Facebook, Twitter,

   Instagram, YouTube, Tumblr, etc)." Id.

          600.    The Demand Letter further demanded that "Miami Velvet and Yorkies each pay

   $5,405,000 in aggregate compensatory, or actual, single damages to compensate the Models for

   the theft and unauthorized use of the Images . . . ." Id at 2. The amount demanded was a

   significantly smaller figure than actual damages, and was equivalent to the valuation of the

   infringed images known to Plaintiffs at the time of the Demand Letter. It did not include any

   demand fee for the tortious damages to the Plaintiffs themselves.

          601.    The Demand Letter further demanded that "Miami Velvet and Yorkies disclose,

   pursuant to Section 627.4137, Florida Statutes, all insurance policy coverage information. . . ."

   Id.

          602.    The Demand Letter further demanded that "Miami Velvet and Yorkies preserve

   all records (electronic and hard copy) relevant to the matters raised herein for use in litigation

   pursuant to the Document Preservation Demand," and appended a separate, detailed document

   preservation demand. Id.



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          603.     The Demand Letter outlined, among other things, the values for each infringed

   image and some (but not all) of the potential legal claims Plaintiffs would pursue absent

   Defendants' full compliance with the demands.

          604.     Defendants were given thirty (30) days to satisfy the conditions set forth in the

   Demand Letter. Id.

          605.     Defendants certified receipt of the Demand Letter October 17, 2015.

          606.     Defendants provided no response to the Demand Letter and, upon information and

   belief, made no effort to comply with the demands therein.

          607.     Defendants failed and refused to "cease and desist" use and dissemination of the

   infringing images.

          608.     Defendants failed and refused to "provide written disclosures of its misuse and

   written acknowledgement of its intention to permanently comply with [the] cease and desist

   demand."

          609.     Defendants failed and refused to remove the infringing images from one or more

   social media sites owned, operated, leased, hosted, contributed or supported by Defendants. The

   infringing images continue to be accessible.

          610.     Defendants failed and refused to compensate Plaintiffs for the unauthorized use of

   their images.

          611.     Defendants failed and refused to disclose their insurance policy coverage

   information.

          612.     Upon information and belief, Defendants have failed and refused to preserve

   relevant records.




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           613.      Upon further investigation, Plaintiffs, through counsel, learned of additional

   misappropriated and altered images posted by Defendants to the same sites and social media

   outlets as the initial infringing images. In particular, counsel discovered after submission of the

   Demand Letter that Defendants had posted photos reflecting the images of models Melanie

   Iglesias, Brenda Lynn Geiger, Heather Rae Young, and Rosa Acosta.

           614.      In the interest of judicial economy and efficiency, those new images have been

   included within this Complaint, as detailed above.

                                          CAUSES OF ACTION

                                                COUNT I
                            Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                                False Advertising against all Defendants

           615.      Each Plaintiff hereby incorporates by reference each and every allegation set forth

   in paragraphs 1-614 as if fully alleged herein.

           616.      Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

   and protects each Plaintiff from the conduct described herein. Specifically, the Lanham Act

   prohibits a party in commercial advertising and promotion from "misrepresent[ing] the nature,

   characteristics, qualities or geographic origin of his or her or another person's goods, services or

   commercial activities . . . ." 15 U.S.C. §1125(a)(1)(B).

           617.      Defendants used and altered each Plaintiff's image, likeness and/or identity as

   described herein without authority in order to create the perception that each Plaintiff worked at

   or was otherwise affiliated with the Club, endorsed Defendants, the Club or the Club’s business

   activities, and/or consented to or authorized Defendants’ or the Club's usage of her images in

   order to advertise, promote, and market Defendants’ business, the Club, and/or the Club's events

   and activities.



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            618.   Defendants’ use and alteration of each Plaintiff's image, likeness and/or identity

    to advertise, promote and market Defendants' business, the Club, and/or the Club's events and

    activities as described in this Complaint was false and misleading.

            619.   Defendants’ unauthorized use and alteration of each Plaintiff’s image, likeness

    and/or identity as described in this Complaint constitutes false advertising by suggesting or

    implying, among other things, that each Plaintiff worked at or was otherwise affiliated with the

    Club, the Club or the Club's events or activities, or consented to or authorized Defendants' or the

    Club's usage or alteration of her images in order to advertise, promote, and market Defendants'

    business or the Club's events and activities and/or that each Plaintiff would participate in or

    appear at the specific events promoted in the advertisement.

            620.   Defendants' false advertising described above has the capacity or tendency to

    confuse consumers, including actual and prospective patrons to the Club, as to the general

    quality of attendees and participants at the Club and at its events, as well as specifically whether

    each Plaintiff worked at or was otherwise affiliated with the Club, the Club or the Club's events

    or activities, or consented to or authorized Defendants' or the Club's usage or alteration of her

    images in order to advertise, promote, and market Defendants' business or the Club's events and

    activities

            621.   Defendants' false advertising described above did, in fact, deceive and/or cause

    consumer confusion as to whether each Plaintiff worked at or was otherwise affiliated with the

    Club, the Club or the Club's events and activities, or consented to or authorized Defendants' or

    the Club's usage or alteration of her images in order to advertise, promote, and market

    Defendants' business or the Club's events and activities. Among other things, upon information

    and belief, such unauthorized use or alteration misled and served to entice consumers and



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    prospective consumers to join the Club, visit the Club, and participate in events at the Club and

    had a material effect and impact on the decision of members and prospective members and

    participants to join the Club, visit the Club and take part in the events at the Club.

           622.    Defendants' advertisements, promotions and marketing of the Club, the Club and

    events at the Club occur in and are targeted to interstate commerce. Specifically, Defendants'

    promote their business and events through interstate promotions and campaigns to target

    members and prospective members throughout the United States. In addition to membership

    lists consisting of members of the Club from states other than Florida, Defendants principally use

    the world wide web, social media and other vehicles of interstate commerce to advertise, market,

    promote, sell and entice or lure membership and attendance at, Club events.

           623.    As a result of Defendants’ use of each Plaintiff's image, Defendants attracted new

    patrons to their establishment, particularly tourists, who purchased online memberships for the

    Club, were enticed to travel across state lines to attend events, and did in fact travel in interstate

    commerce across the state lines to attend Defendants’ events, or patrons who purchased

    memberships at the door after receiving advertisements that relied on the unauthorized use of

    each Plaintiff's image, likeness and identity.

           624.    Defendants' unauthorized use and alteration of each Plaintiff's image, likeness and

    identity as described herein was designed to benefit Defendants' business interests by, among

    other things, promoting the Club and its activities and attracting new members to the Club.

           625.    Defendants knew or should have known that their unauthorized use and alteration

    of each Plaintiff's image, likeness and identity would cause consumer confusion as described in

    this Complaint.




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            626.      Defendants' unauthorized use and alteration of each Plaintiff's image, likeness and

    identity as described herein violates 15 U.S.C. §1125(a) and was wrongful.

            627.      Defendants wrongful conduct as described herein was willful.

            628.      As such, the present case is an exceptional case warranting an award of

    reasonable attorney's fees pursuant to 15 U.S.C. § 1117.

            629.      Defendants had actual or constructive knowledge of the wrongfulness of their

    conduct, acted with intent to deprive each Plaintiff of a property interest, and further acted with

    actual or constructive knowledge of the high probability that injury or damage would result to

    each Plaintiff.

            630.      The method and manner in which Defendants used the images of each Plaintiff

    further evinces that Defendants were aware of or consciously disregarded the fact that each

    Plaintiff did not consent to Defendants' use of the images to advertise Defendants' business.

            631.      Defendants have caused and will continue to cause irreparable harm to each

    Plaintiff, her reputation and brand by attributing to each Plaintiff the deviant "swinger" or

    "spouse swapping" lifestyle and activities at the Club.

            632.      Defendants' unauthorized use of each Plaintiff's image, likeness and identity

    directly and proximately caused and continue to cause damage to each Plaintiff in an amount to

    be determined at trial.

            633.      WHEREFORE, each Plaintiff respectfully requests that the Court issue a

    judgment granting actual, or compensatory, damages in an amount to be determined at trial, lost

    profits, disgorgement of profits earned directly or indirectly by Defendants' unlawful use,

    attorneys' fees and costs, prejudgment and post-judgment interest, and preliminary and




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    permanent injunctive relief enjoining Defendants from engaging in further unauthorized use of

    the Images, and/or such further relief that is just and proper.

                                              COUNT II
                           Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                               False Endorsement against all Defendants

           634.    Each Plaintiff hereby incorporates by reference each and every allegation set forth

    in paragraphs 1- 614 as if fully alleged herein.

           635.    Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

    and protects each Plaintiff from the conduct described herein. Specifically, the Lanham Act

    prohibits a party in commercial advertising and promotion from committing any act that “is

    likely to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or

    association of such person with another person . . . or approval of his or her goods, services, or

    commercial activities by another person . . . .” 15 U.S.C. §1125(a)(1)(A).

           636.    Defendants used and altered Plaintiffs’ Images, likeness and/or identity as

    described herein without authority in order to create the false perception that each Plaintiff

    worked at or was otherwise affiliated with the Club, or endorsed Defendants, the Club or the

    Club's business activities, and/or consented to or authorized Defendants' or the Club's usage of

    her images in order to advertise, promote, and market Defendants business, the Club, and/or the

    Club's events and activities.

           637.    Defendants used each Plaintiffs’ Image was for Defendants’ commercial benefit

    and was designed for the sole and express purpose of attracting clientele to the Club by selling

    memberships online as well as at the door thereby generating revenue for the Club.




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            638.   Each Plaintiff is in the business of commercializing her identity and selling her

    image to reputable brands and companies for profit. Most (if not all) of the Club’s members

    have undoubtedly viewed Plaintiffs’ images in magazines and online.

            639.   Defendants' unauthorized use and alteration of each Plaintiff’s Image, likeness

    and/or identity to advertise, endorse, promote and market Defendants' business, the Club, and/or

    the Club's events and activities as described in this Complaint has led to a competitive injury to

    Plaintiffs.

            640.   Defendants' unauthorized use and alteration of each Plaintiff’s image, likeness

    and/or identity as described in this Complaint constitutes a false designation of the source or

    origin, sponsorship, approval, association, or endorsement which has deceived Plaintiffs’ fans

    and present and prospective clients into believing that, among other things, each Plaintiff works

    at or is otherwise affiliated with the Club, endorsed Defendants' business, the Club or the Club's

    events or activities, or consented to or authorized Defendants' or the Club's usage or alteration of

    her images in order to advertise, promote, and market Defendants' business or the Club's events

    and activities and/or that each Plaintiff would participate in or appear at the specific events

    promoted in the advertisement.

            641.   Despite the fact that Defendants were at all times aware that none of the Plaintiffs

    worked at, nor endorsed the Club, Defendants nevertheless used each Plaintiff’s image to

    mislead potential members as to each Plaintiff’s employment at the Club.

            642.   Defendants knew that their use of each Plaintiff’s image would cause consumer

    confusion as to each Plaintiff’s sponsorship, endorsement, and/or employment at the Club.




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           643.    Upon information and belief, Defendants' use of each Plaintiff’s image as

    described above did, in fact, deceive and/or cause consumer confusion as to whether each

    Plaintiff worked at and/or endorsed the Club, and endorsed Club’s business..

           644.    As a direct and proximate results of Defendants’ actions, each Plaintiff has no

    control over the nature and quality of the services provided by the Club, the nature of the

    advertisements depicting each Plaintiff’s image, likeness and/or identity, or how each Plaintiff’s

    image is being depicted by the Club.

           645.    Defendants' unauthorized use and alteration of each Plaintiff’s image, likeness

    and identity as described herein violates 15 U.S.C. §1125(a) and was wrongful.

           646.    Defendants wrongful conduct as described herein was willful.

           647.    As such, the present case is an exceptional case warranting an award of

    reasonable attorney's fees pursuant to 15 U.S.C. § 1117.

           648.    Defendants had actual or constructive knowledge of the wrongfulness of their

    conduct, acted with intent to wrongfully portray each Plaintiff as endorsing Defendants’

    business, and further acted with actual or constructive knowledge of the high probability that

    injury or damage would result to each Plaintiff from such an endorsement.

           649.    Further, any failure, neglect or default in ceasing to use each Plaintiff’s image will

    reflect adversely on each Plaintiff as the believed source of origin, sponsorship, approval,

    endorsement, or association thereof, hampering efforts by each Plaintiff to continue to protect

    her reputation for high-quality profession modeling, resulting in loss of sales thereof and the

    considerable expenditures each Plaintiff incurs to promote her personal modeling services to

    legitimate mainstream media.




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           650.    Defendants have caused and will continue to cause irreparable harm to each

    Plaintiff’s reputation and brand by attributing to each Plaintiff an express endorsement of the

    deviant "swinger" or "spouse swapping" lifestyle and activities at the Club.

           651.    Defendants' unauthorized use of each Plaintiff’s image, likeness and identity

    directly and proximately caused and continue to cause damage to each Plaintiff in an amount to

    be determined at trial.

           652.    WHEREFORE, each Plaintiff respectfully requests that the Court issue a

    judgment granting actual, or compensatory, damages in an amount to be determined at trial, lost

    profits, disgorgement of profits earned directly or indirectly by Defendants' unlawful use,

    attorneys' fees and costs, prejudgment and post-judgment interest, and preliminary and

    permanent injunctive relief enjoining Defendants from engaging in further unauthorized use of

    the Images, and/or such further relief that is just and proper.

                                         PRAYER FOR RELIEF

           WHEREFORE, each Plaintiff individually respectfully prays that this Court grant

    Judgment to each Plaintiff, respectively, and against Defendants, jointly and severally, as

    follows:

           (a)     Adjudging and decreeing that Defendants have impermissibly and falsely implied

    each Plaintiff's association with, voluntary and authorized promotion, advertising, marketing and

    endorsement of Defendants' business, the Club or the Club's events and activities, have violated

    each Plaintiff's right of privacy, and have violated each Plaintiff's right of publicity;

           (b)     Permanently enjoining and restraining Defendants from further violations and

    misappropriation of each Plaintiff's image, likeness and identity;

           (c)     Awarding each Plaintiff damages including, without limitation, actual or



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    compensatory-type damages, exclusive of lost profits and disgorgement of profits, and exclusive

    of special, consequential, exemplary or punitive damages, from the multiple instances of

    unauthorized use and alteration of each Plaintiff's image, likeness and/or identity, false

    advertising, deceptive practices in an amount to be determined at trial but in no event less than

    $5,575,000 aggregated across all Plaintiffs from Velvet Lifestyles, LLC, and $5,575,000

    aggregated across all Plaintiffs from My Three Yorkies, LLC;

              (d)   Requiring Defendants to account to each Plaintiff for any and all earnings and

    profits derived by Defendants from each violation alleged herein;

              (e)   Requiring Defendants to disgorge any fees, profits, or money to each Plaintiff by

    which it has been unjustly enriched;

              (f)   Awarding each Plaintiff punitive damages in an amount equal to at least twice the

    actual damages awarded at trial but in no event less than $11,150,000 aggregated across all

    Plaintiffs from Velvet Lifestyles, LLC and $11,150,000 aggregated across all Plaintiffs from My

    Three Yorkies, LLC;

              (g)   Awarding each Plaintiff her and his costs and disbursements incurred in the

    prosecution of this action, including reasonable attorneys’ fees;

              (h)   Granting such other, further or different relief as the Court may deem just and

    proper.




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                                    DEMAND FOR JURY TRIAL

          Plaintiffs demand trial by jury on all issues so triable.

    Dated: September 15, 2016

                                                         Respectfully Submitted,



                                                         /s Christopher G. Oprison
                                                         CHRISTOPHER G. OPRISON
                                                         Florida Bar No. 122080
                                                         Email: christopher.oprison@akerman.com
                                                         NAIM SURGEON
                                                         Florida Bar No. 101682
                                                         Email: naim.surgeon@akerman.com

                                                         AKERMAN LLP
                                                         Three Brickell City Centre
                                                         98 Southeast Seventh Street, Suite 1100
                                                         Miami, FL 33131-1714
                                                         Phone: (305) 374-5600
                                                         Fax: (305) 349-4654

                                         Attorneys for Plaintiffs Jaime Faith Edmondson, Ana Cheri
                                         (Moreland), Carrie Minter, Cielo Jean Gibson, Cora
                                         Skinner, Danielle Ruiz, Eva Pepaj, Heather DePriest, Irina
                                         Voronina, Jesse Golden, Jessica Burciaga, Jessica Hinton,
                                         Joanna Krupa, Jordan Carver, Katerina Van Derham, Kim
                                         Cozzens, Laurie Fetter (Jacobs), Lina Posada, Maria
                                         Zyrianova, Marketa Kazdova, Masha Lund, Maysa Quy,
                                         Paola Canas, Rachel Bernstein (Koren), Sandra Valencia,
                                         Sara Underwood, Tiffany Toth, Vivian Kindle, Melanie
                                         Iglesias, Brenda Lynn Geiger, Heather Rae Young, and
                                         Rosa Acosta.




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing document was

    electronically filed with the Clerk of the Court using CM/ECF this 15th day of September, 2016.

    I also certify that the foregoing document is being served this day on all counsel of record

    identified on the Service List via transmission of Notice of Electronic Filing generated by

    CM/ECF.


                                                              /s Christopher G. Oprison
                                                              Attorney

                                           SERVICE LIST

      JAMIE FAITH EDMONDSON, et al. V. VELVET LIFESTYLES, INC. f/k/a VELVET
                   LIFESTYLES, INC., d/b/a MIAMI VELVET, et al.

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    Luke Lirot, Esq.
    LUKE CHARLES LIROT, P.A.
    2240 Belleair Road, Suite 190
    Clearwater, Florida 33764
    Telephone: (727) 536-2100
    Facsimile: (727) 536-2110
    Primary E-mail: luke2@lirotlaw.com
    Secondary E-mail: jimmy@lirotlaw.com
    Secondary E-mail: krista@lirotlaw.com

    Attorneys for Defendants

    Served via CM/ECF




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